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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                           Case No.: 21-24441-CIV-ALTONAGA/Torres

  MARK CASSIDY, on behalf of himself
  and all others similarly situated,

                  Plaintiff,                             CLASS ACTION COMPLAINT

  v.                                                      JURY DEMAND


  VOYAGER DIGITAL LTD, and VOYAGER
  DIGITAL LLC

                  Defendants.
                                                     /


       AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Mark Cassidy files this class action complaint on behalf of himself, and all others
  similarly situated, against VOYAGER DIGITAL LTD. (“Voyager”) and VOYAGER DIGITAL
  LLC (“VDL”) (Voyager and VDL shall at times together be referred to as “the Voyager
  Defendants”).
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                                          INTRODUCTION
          1.      The Crypto Currency market is expected to reach US over $ 32 Trillion by 2027,
  exhibiting a compound annual growth rate (CAGR) of 58.4% during 2022–2027. 1 Accordingly,
  there is fierce competition within the crypto currency market to obtain as many customers and
  capital as quickly as possible. One of the largest, and most well attended crypto investor
  conferences, is the Bitcoin 2022 Miami that was held just weeks ago here in Miami. Voyager was
  not only a Main Sponsor for the Event, but also sent a large contingent to speak and participate,
  including Voyager’s CEO, Steven Ehrlich and Chief Marketing Officer, Pam Kramer.
          2.      Voyager has been very successful in quickly growing into the crypto currency
  market. As Voyager’s CEO Steve Ehrlich proudly announced on Voyager’s investor earnings call
  on February 15, 2022: “As volume and funded accounts grew, so did our assets om platform,
  increasing from $4.4 billion in the September quarter to $5.9 billion at the end of the December
  quarter with approximately $1 billion in net new deposits, making up the majority of the $1.4
  billion increase.” 2
          3.      Mr. Ehrlich’s unorthodox cryptocurrency growth strategy was simple: (1) making
  his company, Voyager, open to the public and for sale on the Toronto and OTC public stock
  exchanges, so that his company (unlike almost all other cryptocurrency competitors) would appear
  to the public to be “regulated,” and so those that might be hesitant to buy cryptocurrency directly,
  could be sucked into the market by simply buying Voyager stock, 3 and (2) deceptively designing
  and marketing Voyager’s Platform, which is operated by VDL, a company that has the same CEO,
  CFO, COO and General Counsel, in order to “put a lot of energy into pushing people down the
  funnel and incentivize them,” 4 to attract the most investors.


  1
    https://www.imarcgroup.com/cryptocurrency-market (last accessed April 28, 2022).
  2
    Transcript of Voyager Digital FY2Q 2022 Earnings Call dated February 15, 2022, attached as
  Exhibit A.
  3
    “Voyager is extremely excited by the new symbol as it reflects our global brand”, said Stephen
  Ehrlich, CEO of Voyager. “The Stock symbol change makes it clear to all of our customers and
  investors that they can purchase Voyager stock through U.S. Brokers and is the next step in our
  growth.”
  https://www.businesswire.com/news/home/20190325005091/en/Voyager-Changes-OTC-Pink-
  Symbol-to-VYGVF (last accessed April 28, 2022) (last accessed April 28, 2022)
  4
    See Transcript of Voyager Digital FY2Q 2021 Earnings Call dated March 1, 2021, attached as
  Exhibit B.


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          4.     Voyager’s CEO Steve Ehrlich proudly touts that “[w]e’re already self-regulating
  ourselves when it comes to bringing products to retail investors.” 5 “Ehrlich adds that there is a
  limited number of cryptocurrency companies abiding by this extra set of rules as a publicly traded
  company.” 6
          5.     The original Complaint filed in this action, specifically detailed with Expert
  Reports, how Voyager’s practices were deceptive, illegal and were the sale of unregistered
  securities.
          6.     After this Complaint was filed, the following important actions took place:

          (a) the United States Securities and Exchange Commission (SEC) began an
              enforcement review focused on whether Voyager’s Earn Program Accounts
              (“EPAs”) constitute unregistered securities;
          (b) seven state Attorney Generals (New Jersey, Alabama, Kentucky, Oklahoma,
              Texas, Vermont and Washington) took specific action finding that Voyager was
              violating their state laws, including issuing “cease and desist” letters to
              Voyager, finding that the EPAs, like the one Plaintiff Mark Cassidy was offered
              and sold by Voyager, was an unregistered security, prohibiting the crypto-asset
              broker-dealer from selling any more unregistered securities (finding that
              Voyager used these EPAs to raise millions of dollars in revenue worldwide as
              of March 1, 2022 (thousands of these EPAs were Florida-based);
          (c) On March 29, 2002, the State of New Jersey Bureau of Securities entered a
              Cease and Desist Order against Voyager, finding that the Earn Program is not
              exempt from registration under the law, and instead that it must be registered—
              and as a result, Voyager’s stock price tanked by 25% in a day and is down over
              80% for the year; 7
          (d) On February 14, 2022, crypto trader Block-Fi entered into a $50 million dollar
              settlement with the state regulators and $50 million dollar settlement with the




  5
          https://www.msn.com/en-us/money/news/sec-regulations-and-the-cryptocurrency-market-
  voyager-digital-grayscale-bitcoin-executives-weigh-in/ar-AANZDZc (last accessed April 28,
  2022)
  6
    Id.
  7
     https://seekingalpha.com/article/4498956-voyager-digital-plunged-25-percent-heres-why (last
  accessed April 28, 2022); https://seekingalpha.com/article/4503716-voyager-digital-buy-dip-
  during-crypto-crash (last accessed April 28, 2022)


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              SEC and agreed to stop selling its interest-bearing cryptocurrency accounts
              until they were registered with state and federal securities regulators;
         (e) In September 2021, the New Jersey Bureau issued a Summary Cease and Desist
             Order against Celsius Network LLC, whose unlawful unregistered securities
             had raised at least $14 billion nationwide; 8 and,
         (f) the largest cypto exchange, COINBASE, dropped all plans to offer the same
              lending rewards program after the SEC threated to sue them. 9
         7.      Voyager’s CEO, Steve Ehrlich, told his investors, and the public, on his last
  investor call, that Voyager is now determining what to do in regards to all of these state and federal
  investigations: “… that’s a conversation between myself, out internal GC, our advisors. And we
  have a very, very deep team, and we’re evaluating all that at this point in time.” 10

                                 FACTUAL BACKGROUND

         8.      Voyager describes itself as “a fast-growing, publicly traded cryptocurrency
  platform in the United States founded in 2018 to bring choice, transparency, and cost efficiency to
  the marketplace.” 11 Voyager was first listed on the Toronto Venture Exchange (TSX.V) under the
  symbol VYGR.V in February of 2019. 12 In September 2019, Voyager Digital Ltd was listed on
  the Canadian Stock Exchange (CSE) under the symbol VYGR.CN. In 2021, Voyager announced
  its approval to trade on the Toronto Stock Exchange (TSX) under the new ticker symbol VOYG
  and de-list from the CSE.
         9.      Voyager stock is also available Over-the-Counter (OTC) through many US
  brokerages and can be purchased in the state of Florida and throughout the United States via the
  symbol VYGVF. Voyager has quickly become one of the most utilized avenues for nascent



  8
            https://www.njoag.gov/new-jersey-bureau-of-securities-orders-cryptocurrency-company-
  voyager-digital-to-stop-offering-and-selling-interest-bearing-accounts/ (last accessed April 28,
  2022)
  9
           https://www.coindesk.com/policy/2022/01/26/sec-scrutinizing-crypto-firms-over-interest-
  paying-services-report/ (last accessed April 28, 2022)
  10
     Ex. A.
  11
     https://www.investvoyager.com/investorrelations/overview/ (last accessed April 28, 2022)
  12
      See https://www.investvoyager.com/blog/why-voyager-is-a-public-company/ (last accessed
  April 28, 2022)


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  investors to purchase cryptocurrency, and thus has already reaped hundreds of millions of dollars
  in revenue since 2019, which is increasing exponentially every week.
             10.    Voyager’s founder and CEO, Stephen Ehrlich, who is also the CEO of nearly every
  other Voyager wholly-owned subsidiary, including VDL, explains that Voyager “made the
  decision to go public early in our company history. This was an unconventional choice for a crypto-
  company in 2019 but proved beneficial for our customers and our platform.” 13 Ehrlich goes on to
  explain:

             Here are three reasons why Voyager and our customers benefit from a
             public structure.

             1) Transparency

             We believe that our users deserve transparency when it comes to their finances.

             As a public company, we are held to the highest standards. We are legally required
             to disclose both quarterly and annual reports as well as conduct public filings for
             mergers, acquisitions, insider trading, securities transactions by company insiders,
             and ownership changes. We also have an obligation to act in the best interest of our
             shareholders and drive value to their investments. Furthermore, our shareholders
             have a voice in our future, and a vested interest in our success.

             2) Bridging the gap between traditional finance and crypto

             A public structure enables us to create opportunities for investors who want
             exposure to the crypto markets by investing in companies like Voyager through
             stock offerings.

             Equities traders have the opportunity to invest in the crypto industry by buying
             shares of Voyager, even if they do not directly invest in crypto. We believe that this
             type of exposure will help more people become comfortable with the crypto market
             and ultimately increase widespread adoption.

             3) Opportunity for growth

             We decided to go public early in our growth trajectory, which gave Voyager an
             alternate avenue for company growth while also empowering everyday equities
             traders the opportunity to back an emerging crypto company.



  13
       Id.


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            By going public, we keep our doors open to all who see the potential for growth at
            Voyager and the crypto economy.

            11.      What Ehrlich does not disclose in his blog, however, is that he intentionally
  structured Voyager to siphon as much profit off American consumers as possible while
  simultaneously preventing them from ever being able to effectively vindicate their rights when
  Voyager wrongs them, as Plaintiff is attempting to do here on behalf of himself and all others
  similarly situated. As Voyager explains in its Annual Information Form for Fiscal Year 2021: 14

            [Voyager] is a corporation formed under the laws of British Columbia, Canada;
            however its principal place of business is in the United States. Most of [Voyager’s]
            directors and officers, [Voyager’s] auditors, and the majority of [Voyager’s] assets,
            are located in the United States.
            It may be difficult for customers in the United States to effect service of process
            within the United States upon those directors who are not residents of the United
            States or to enforce against them judgments of the United States courts based upon
            civil liability under the United States federal securities laws or the securities laws
            of any state within the United States. There is doubt as to the enforceability in
            Canada against [Voyager] or against any of its non-United States directors, in
            original actions or in actions for enforcement of judgments of United States courts
            of liabilities based solely upon the United States federal securities laws or securities
            laws of any state within the United States.
            12.      Voyager’s disdain for being held accountable for its actions by the legal system and
  its penchant for gamesmanship continue throughout this litigation. Initially, Plaintiff’s counsel
  were contacted approximately one year ago by numerous aggrieved consumers who had serious
  concerns about Voyager’s business practices. Essentially, these consumers and experts concluded
  that Voyager was conducting an inherently rigged game, fueled by specific misrepresentations and
  lies.
            13.      Counsel spent the following months focusing on two main projects:
                  a. investigating and researching, along with some of the top cryptocurrency experts
                     in the United States and Europe, to not only prepare allegations regarding
                     Voyager’s unlawful actions, but to generate preliminary expert reports with
                     supporting evidence as to these allegations and a set plan for managing discovery
                     of the disputed issues to confirm the allegations, and

  14
       See Ex. I


                                                       6
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                b. researching and concluding that there was no enforceable arbitration clause and/or
                   class action waiver executed by Plaintiff Mark Cassidy that precluded him from
                   filing this action before this Court. 15
          14.      When Plaintiff first filed his 29-page complaint, along with over two hundred pages
  of exhibits, including two comprehensive preliminary Expert Reports, however, Voyager’s then
  Chief Communications Officer, Michael Legg (since this Complaint was filed and his deposition
  was specifically noticed, Voyager “immediately” took him off of the Voyager Website and he was
  given a different position), within barely an hour after receiving a copy of the pleading, wrote on
  behalf of Voyager to the press that “This action is absolutely spurious and without any merit
  whatsoever. We look forward to dealing with this matter through the appropriate legal channels.”
  Legg Tr. 38:19–39:20.
          15.      As a result of some initial, nefarious conduct by Voyager, Plaintiff was required to
  file a Motion for Order to Show Cause and noticed Voyager Digital LLC for deposition on three
  topics. See ECF No. 25. Voyager Digital LLC refused to produce any deponent and instead filed
  a Motion to Stay, [ECF No. 29], along with Defendants’ Motion to Compel Arbitration and to
  Dismiss this case [ECF No. 28]. Defendants included in their Motion to Compel Arbitration, for
  the first time, arguments that, as a factual matter were beyond the four corners of Plaintiff’s
  complaint, such as that the Court does not have personal jurisdiction over Defendant Voyager
  Digital LTD.
          16.      While Defendants had exclusive access to all materials relevant to the Court’s
  determination of whether Plaintiff and either Defendant entered into an enforceable arbitration
  agreement, they selectively produced some cherry-picked information in their Motion and asked
  this Court to refuse to allow Plaintiff to take even limited discovery necessary to uncover all of the
  relevant facts to test Defendants’ assertions. For instance, Defendants claimed that Plaintiff is
  specifically bound by a January 2021 User Agreement with VDL to arbitrate all claims, but then
  confusingly attaches four additional revised versions and claim that “notice was sent to customers”
  regarding one of the revisions, two days after the revision was implemented, though asserts that


  15
    At this early pleading stage of the litigation, the Court initially will only need to find that Plaintiff
  has standing to assert his claims and is not bound by an arbitration clause, and not whether all, or
  even any, other class members may be bound by such revised agreements.

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  they are all materially the same [ECF No. 28, 10–11; ECF No. 28-1 ¶¶ 14–21]. Defendants
  stipulate that Voyager is not a party or signatory to VDL’s User Agreement but maintain that
  Voyager should still be entitled to enforce its arbitration provision against Plaintiff, assuming any
  such agreement with VDL was formed [ECF No. 28 at 16–21]. Defendants also claimed that
  Voyager is “a foreign holding company with no operations or employees,” and that VDL
  “operates” the Voyager Platform. Id. 8; [ECF No. 28-1 ¶ 5].
         17.     This Court, through careful analysis, saw through the Defendants’ ruse, calling their
  arguments “nonsense,” and afforded Plaintiff the opportunity to take limited discovery before
  filing this amended complaint. [ECF No. 36]. In conducting its analysis, the Court noted, among
  other things, that the evidence Plaintiff attached to his original complaint showed that In Voyager
  Ltd.’s March 2021 earnings call, one of its representatives stated, “We’re at 49 states today. We
  offer our services in 49 states. It’s only New York that we’re not —we don’t offer this service.”
  Id. (citing Compl., Ex. G, March 3, 2021 Earnings Call [ECF No. 1-8] 17; see id. 2 (“[W]elcome
  to Voyager Digital Limited earnings call.” (alteration added)). The Court noted that “[i]t is possible
  that the representative meant to reference Voyager Digital, LLC, when he used ‘we,’ but this
  ambiguity only accentuates the need for jurisdictional discovery.” Id.
         18.     Discovery, however, only further reinforced that Voyager does, in fact, conduct
  business throughout the United States, including Florida. In response to the question, “[w]as
  Voyager doing business in 49 states except for the State of New York when you were there?”
  Voyager’s former Chief Communications Officer, Michael Legg, testified “Here is my answer to
  this. We do business in New York. We don’t have customers in New York. We do business in
  every state. We do business internationally, okay.” Legg Tr. 26:5–21 (emphasis added).
         19.     Why did Defendants fight so vociferously against submitting to even limited
  discovery? Because they did not want to afford Plaintiff the opportunity to reveal the illusory
  nature of the VDL User Agreement, or that their claims that Voyager is merely a holding company
  with no operations or employees were false.
         20.     The corporate representative for VDL confirmed in deposition testimony that
  VDL’s regular practice is that it not only unilaterally “makes continuous revisions” to the User
  Agreement, but it also undertakes a conscious effort to ensure that its customers are not notified
  of the changes—VDL does not even have a phone number to contact customer support—so that



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  customers can actually decide whether they agree to them before VDL attempts to bind them, as
  was the case with Plaintiff:

         Q. I’m asking you do you know why, when Voyager makes continuous revisions
         to the User Agreement -- and you’re aware of that, right? Every couple –
         A. Yeah.
         Q. -- months or years there’s changes to this agreement?
         ...
         THE WITNESS: Yes.
         Q. Okay. Why -- for those subsequent changes that are made why doesn’t Voyager
         just follow the same easy process of having this “click this button,” and if you click
         it, then you could go back, type in the user ID, and you can see, simply, if they
         clicked it and read it or even received it. Why don’t you do that?
         A. I don’t know.
         Q. Have you ever asked anybody?
         A. No.
         Q. Do you know of any reason, sitting here today as the director of operations that’s
         in charge of the Voyager Platform User Agreement, why Voyager can’t do this
         same process for subsequent amendments?
         ...
         THE WITNESS: No.
  LLC Tr. (Exhibit C) 48:11–49:9
         THE WITNESS: In reviewing the -- the terms he agreed to it’s discussed that as
         the -- that they may change and that they’re where they’re available and that he can
         go look at them and make sure that he’s still in agreement with them.
         Q. But how would he know that those changes have been made?
         ...
         THE WITNESS: That would be his responsibility.
  LLC Tr. 53:20–54:6
         Q. Okay. And just so I’m perfectly clear, regardless of whether Voyager lets Mr.
         Cassidy know that there’s been an amendment, it’s Mr. Cassidy’s responsibility on
         his own to go find out and monitor the site to make sure there’s no changes made?
         ...



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         THE WITNESS: Yes. The user, after they’ve agreed to it, is -- that is part of what
         they are agreeing to.
   LLC Tr. 56:16–24
         Q. Okay. So Pam [Kramer, Voyager’s Chief Marketing Officer] writes “Also, based
         on the specific updates, do you think this warrants an email to customers? This
         summary is very helpful in that regard. So what we just looked at in the email, the
         form email, that was sent out that you testified about dated April 16th [sic], that
         didn’t provide a summary to any of the customers. It just said your user agreement
         has been updated, correct?
         A. Yes.
         Q. Do you know why the internal summary that Voyager was aware of isn’t
         provided to the customers of Voyager?
         ...
         THE WITNESS: No.
         Q. Okay. As the corporate rep today with the person with the most knowledge about
         the unifor- -- the User Agreements, including any revisions thereto, have you ever
         spoke to anybody about providing your customers with a summary of the changes?
         A. No.
         ...
         Q. I mean, wouldn’t you think that would be helpful if somebody wanted to know?
         A. I suppose it could be helpful for some people.
   LLC Tr. 75:4–76:16
         Q. [Plaintiff] says under oath he reviewed your declaration in support of the motion
         and he said “I did not receive the April 18th email notifying of the April 16th update
         to the Customer Agreement,” that you had testified went out to this mass mailing
         of 1.2 million.
         My question is very simple. Do you have any shred of evidence, anything, to
         indicate that he is wrong and that he did receive that email, not that the mass
         marketing email went out, but that he, in fact, received it?
         ...
         THE WITNESS: I -- I personally do not, no.
         ...
         Q. Okay. Number 9, he says “I did not receive any email, notifications, or any other
         form of actual notice of any other versions of the Customer Agreement referenced
         in Shannon Casey’s declaration.”


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          You have no evidence, standing here today, that he did, in fact, receive any of those
          other notices, correct?
          A. What other notices?
          Q. Any other notices.
          A. I’m just not sure what you’re referring to.
          Q. Mr. Cassidy says: I didn’t receive any emails, any notifications, or any other
          form of actual notice of any other versions of the Customer Agreement referred to
          in Shannon Casey’s declaration.
          You talked about six different modifications that were done over time. Mr. Cassidy
          under oath is saying I never received any of those.
          Do you, sitting here today, have any evidence to show that Mr. Cassidy received
          any of these other updates or emails?
          A. No. We only sent the update on the April 18th email.
   LLC Tr. 94:7–96:25
          Q. Okay. Paragraph 10 says after he – Users apparently can’t contact Defendants
          by phone regarding the questions of their account. Is that correct? Is there a number
          that I can call and say, hey, I’m having a problem logging in to my account, can
          you help me, Voyager LLC?
          A. That’s correct, there’s -- we do not have phone support.
   LLC Tr. 99:4–11
          21.     Discovery further revealed deficiencies in the January 2021 version of the User
   Agreement. Janice Barrillueax, Voyager’s Chief Administrative Officer, in reviewing the January
   2021 version of the User Agreement, advised that “I just think that we need to be aware that things
   [sic] grossly outdated” and that customers “need to be put in their little corner.”
   VOYAGER_001890. Later, David Brosgol, Voyager’s General Counsel, agreed with Janice and
   stated that, rather than simply revise the January 2021 User Agreement in effect when Plaintiff
   created his Voyager account, “it seems that it might be best to do a significant overhaul.”
   VOYAGER_001894.
          22.     Further, discovery revealed that, prior to July 26, 2021, not only did VDL never
   submit any version of its arbitration provision to the AAA for review, but when it finally did, the
   AAA determined that the requirements that “the arbitration will occur in New Jersey and will be
   conducted confidentially by a single, neutral arbitrator” constituted “a material or substantial



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   deviation from the Consumer Rules and/or Protocol” and requested that VDL waive those
   requirements for all future consumer arbitrations under the User Agreement. 16
          23.     Under these circumstances, especially where VDL fully retains the unfettered right
   to unilaterally modify the User Agreement at will without providing advance notice to its
   customers, applicable law holds that no agreement has been formed. Thus, not only was Plaintiff
   not bound by any amendments to the VDL User Agreement, he did not enter into any agreement
   to arbitrate (or delegate issues of arbitrability) with VDL.
          24.     Discovery also revealed that Defendants’ sworn statement that Voyager Digital
   LTD has “no operations or employees” and “does not . . . market the Voyager Platform,” [ECF
   No. 28-1 ¶ 5], was a false statement. For instance, Voyager explained during its Q2 2022 earnings
   call that “[b]y the end of calendar 2021, we had 250 employees, 3.2 million verified users and
   1.074 million funded accounts with over $5.9 billion of assets on the platform. This level of growth
   makes Voyager one of the fastest-growing cryptocurrency platforms in the industry and one of the
   largest in the United States. Based on data obtained from one of our investment banking partners,
   Voyager was third on the list of fastest-growing public companies listed on any U.S. exchange
   including the OTC markets, based on revenue growth in calendar 2021 with $416 million of
   revenue, up from just $6.6 million for the calendar year 2020.” 17
          25.     Moreover, Voyager markets and offers for sale unregistered securities in the form
   of cryptocurrency interest-earning accounts. Since Voyager first introduced these unregistered
   securities to consumers in Florida and throughout the United States in November 2019, it has
   referred to them by various names, including the “Voyager Interest Program” or the “Voyager
   Earn Program Account” (collectively, the “EPA”). As Voyager LTD’s former Chief
   Communications Officer, Michael Legg, explained in his deposition taken in this case, “[t]here’s
   always been a program in place to earn yield. How the terminology has been around it has
   evolved.” Legg 43:24–44:1.




   16
     See VOYAGER_001951–52.
   17
     Ex. A. Moreover, Legg confirmed in his testimony that (1) every press release was cleared by
   Stephen Ehrlich as CEO of Voyager Digital Ltd.; and (2) every statement made during the earnings
   calls was “100 percent accurate at that time.” Legg Tr. excerpts (Exhibit D), 15:2–12; 17:14–18:2

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           26.     As explained below, the reasoning for that change in terminology has been to avoid
   the reality—that the EPAs are, in fact, securities that must be registered with the SEC and state
   analogs.
           27.     Voyager never registered the EPAs with the United States Securities and Exchange
   Commission (“SEC”) or with the Florida Office of Financial Regulation (the “OFR”).
           28.     Not only that, but Voyager has spent tens of millions of dollars from capital raises
   to fund marketing efforts throughout the United States, including in the state of Florida, to market,
   offer and sell EPAs through various internet and social media campaigns across state lines to
   consumers, including Plaintiff. The results have been for Voyager to earn, in turn, tens of millions
   of dollars in revenue from the EPA investments.
           29.     Plaintiff’s original complaint, including the extensive preliminary expert report of
   Rich Sanders of CipherBlade, went into great detail regarding the inherent risks and issues with
   the fact that Voyager was offering for sale the EPAs without the necessary registration with federal
   and state regulatory entities or the oversight that follows that registered status. 18
           30.     After Plaintiff filed the original complaint, in February 2022, the SEC charged
   Voyager’s competitor, BlockFi, with failing to register the offers and sales of its retail crypto
   lending product—a nearly identical offering to Voyager’s EPA, called the BlockFi Interest
   Account. 19 BlockFi settled those claims with the SEC and paid $100 million in fines and agreed
   to cease its unregistered offers and sales of the BlockFi Interest Accounts, to bring its business
   within the provisions of the Investment Company Act, and to register under the Securities Act of
   1933 the offer and sale of a new lending product. 20
           31.     Shortly after the BlockFi settlement was announced, Stephen Ehrlich, CEO and co-
   founder of Voyager, explained during the Q2 2022 earnings call for Voyager Digital Ltd, that: 21

           Lastly, we want to address the recent news about the SEC order in the matter of
           BlockFi lending LLC. We recognize that this is a significant development in the
           industry and will provide a potential regulatory path for market participants. We

   18
      Attached as Exhibit E is a supplemental report from Mr. Sanders, which goes into further detail
   regarding how the EPAs function, how they generate revenue, and whether Voyager properly
   represents their risk (“Sanders Supp.”).
   19
      https://www.sec.gov/news/press-release/2022-26 (last accessed April 28, 2022).
   20
      Id.
   21
      Ex. A.


                                                      13
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          also understand that some may view Voyager’s rewards program to be similar to
          BlockFi interest accounts. While we understand the temptation to bucket them
          together, we think there are important differences between Voyager’s program and
          BlockFi’s that we think have legal significance.
          That said, we are in ongoing discussions with regulators about the rewards program,
          and it is, of course, possible that regulators may have a different view. Under the
          circumstances, we think it’s important to confirm that Voyager has received
          requests and subpoenas from the SEC and certain states in connection with the
          rewards program as part of nonpublic fact-finding inquiries. Of course, we believe
          that Voyager accounts that earn rewards comply with existing U.S. law and look
          forward to demonstrating that as necessary. We think it is normal and appropriate
          for financial service firms, especially in the crypto industry with these evolving
          regulatory frameworks to receive inquiries from regulators and law enforcement.
          When Voyager received such requests, our policy is to cooperate fully, but we limit
          public discussion as these matters are always evolving and as a public company,
          Voyager is subject to important rules regarding disclosures about its business.
          32.     Two weeks after Voyager made these statements to its investors, on March 30,
   2022, Voyager issued a press release revealing that it was served with orders from various state
   securities divisions, including New Jersey and Alabama, ordering Voyager to cease and desist its
   offer and sale of the EPAs as they constitute unregistered securities. 22 As Voyager admits, “The
   Voyager Earn Program is the only Voyager product subject to the Orders. No other products and
   services offered by the Company are noted in the Orders.” 23
          33.     As Stephen Ehrlich, CEO and co-founder of Voyager, also explained, “I want to
   emphasize to our shareholders and customers that only one of our products is noted in the Orders.
   Voyager has always recognized that the US regulatory framework must evolve, and in some cases
   completely transform, to address the needs of the rapidly expanding crypto sector. Historically,
   Voyager has advocated for thoughtful regulation, which is a natural progression for this asset class.
   We believe tailored regulation will spur increased confidence and adoption of crypto assets.
   Nonetheless, Voyager continues to pursue its strategy to innovate and grow the business and
   position the Company as a leader in the crypto asset market.” 24 As explained more fully, below,

   22
      A copy of the New Jersey Cease and Desist Order is attached as Exhibit F.
   23
        https://www.investvoyager.com/pressreleases/voyager-provides-update-on-state-orders (last
   accessed April 28, 2022)
   24
      Id.


                                                    14
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   Voyager’s offering and selling the EPAs, which are unregistered securities, violates federal and
   state securities laws.
           34.     VDL, on the other hand, operates the multi-billion-dollar mobile application
   cryptocurrency investment service (the “Deceptive Voyager Platform”), owned by Voyager, that
   places cryptocurrency trade orders on behalf of users like Plaintiff and Class Members.
   Specifically targeted to young and inexperienced investors, who are certainly new to
   cryptocurrency trading and mainly utilize mobile apps (rather than any sophisticated software) for
   trading, through the use of youth-forward marketing are uniform representations that the Deceptive
   Voyager Platform is “100% Commission-Free,” while also assuring customers that they will
   receive the best possible price on cryptocurrency trades. As will be explained with extensive expert
   support, these statements and representations are false, misleading and certainly violate numerous
   state and federal consumer statutes.
           35.     The Deceptive Voyager Platform is based upon false pretenses, false
   representations, and is specifically designed to take advantage of investors that utilize mobile apps
   to make their investments, in an unfair, unsavory, and deceptive manner. Simply put, Plaintiffs
   will prove that the Deceptive Voyager Platform is a house of cards, built on false promises and
   factually impossible representations that were specifically designed to take advantage of the
   cryptocurrency craze to the direct detriment of any ordinary investor.
           36.     VDL offers what it misleadingly claims to be “100% Commission-Free”
   cryptocurrency trading services, in order to unfairly obtain an edge over their competition, such as
   Coinbase, Gemini, Kraken, or Binance, who openly disclose the commissions and fees they charge
   on cryptocurrency trades. This tactic directly evolved from the alleged “no commission”
   alternatives offered by numerous brokerage houses in the 1980s.
           37.     In reality and unbeknownst to unsuspecting and largely unsophisticated consumers
   (especially considering that cryptocurrency is an emerging and innovative market with differences
   from traditional stock exchanges not appreciated by the average retail consumer), VDL never
   discloses that they intentionally set the pricing on the Voyager Platform high enough that they do,
   in fact, collect exorbitant hidden commissions on every cryptocurrency trade.
           38.     Capitalizing on their customers’ naivete by using their proprietary systems to throw
   up smoke screens, including “Smart Order Routing,” the “Voyager Pricing Engine,” and the



                                                    15
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   “Proprietary Fills Algorithm,” numerous experts explain that VDL places their own financial
   interests at the forefront, and are able to collect on average what is likely to be more in hidden
   commissions than their competition collect from their disclosed commissions.
            39.    The very public support from the Dallas Mavericks and their owner, Mark Cuban,
   including their recent massive investment in the Deceptive Voyager Platform, gives a great
   illustration of how this marketing is targeting unsophisticated investors with false and misleading
   promises of reaping large profits in the cryptocurrency market.
            40.    Mark Cuban recently spoke at a Dallas Mavericks press conference, conducted over
   the internet, where he strongly supported and touted the partnership between his company and
   Voyager. Mr. Cuban proudly described how he would personally help significantly increase scope
   and presence of the Deceptive Voyager Platform for those with limited funds and experience:

            You know, there’s a lot of hype, there’s a lot of discussion, but most people don’t
            understand the fundamentals behind it. We’re going to try to bring that level of
            education to our fans and to our joint customers.”
            To put it simply: there’s untapped potential in the future of digital currencies and
            it’s an attractive investment for novice investors who might only have $100 to start.
            That’s where Voyager enters the picture.
            In other words, it’s a way to earn high returns while also getting skin in the game
            and the Voyager platform makes the process easy and simplified for fans of all ages.
            The 60+ crypto assets allows you to build a diverse portfolio from a single account.
            You don’t have to spend a lot of money in order to learn. It’s not like the stock
            market where it’s almost impossible, except on a few platforms, to spend $10 and
            get started. My now 12-year-old son got me in Dogecoin when it was less than a
            penny. I was like “let’s do this” because it’s a cheap way for him to learn how all
            of this works. While you have to put in a $100 to get the $100 bonus the next two
            days, if you don’t have a hundred dollars and you just want to download the app
            and put in $5 and buy SHIBA INU (SHIB) and Dogecoin (DOGE), there’s a lot of
            ways to inexpensively start. 25
            41.    Voyager’s President and Chief Officer, Steve Ehrlich agreed with Mr. Cuban and
   added as follows:
            That’s one of the advantages of Voyager. You can actually download the app and
            fund your account and trade in three minutes or less. We make it really simple. We
            have a very easy-to-use and integrative platform that allows you to get engaged in


   25
        https://www.mavs.com/mavsvoyager/ (last accessed April 28, 2022)


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              the crypto market very quickly. That’s one of the values of Voyager. You’ll be
              trading in three minutes or less.

              About 220 million people have crypto right now and we (anticipate) a billion in
              four years. So that shows you where we can actually go with crypto and crypto
              adoption. Now the comparison there is the internet. It took the internet eight years,
              for the same time frame, for the internet to grow that fast. So it’s a great time to
              enter the space and learn more. 26
              42.    VDL’s representations and marketing materials regarding the “100% Commission-
   Free” Voyager Platform are false, deceptive, and are objectively very likely to deceive average
   consumers acting reasonably under the circumstances. Accordingly, VDL’s conduct violates the
   New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq., (“NJCFA”) and the Florida Deceptive
   and Unfair Trade Practices Act, §§ 501.201, et seq., Florida Statutes (“FDUTPA”).
              43.    Plaintiff thus seeks damages and restitution on behalf of himself and the Class
   members, as well as declaratory and injunctive relief to put an end to VDL’s unfair and deceptive
   marketing and sales practices.

                                                  PARTIES

              44.    Plaintiff is a citizen of the State of Florida residing in Broward County, Florida. He
   is a natural person over the age of 21 and is otherwise sui juris.
              45.    Defendant Voyager is an entity existing and incorporated pursuant to the laws of
   British Columbia, Canada, is regulated by the Securities and Exchange Commission, and maintains
   a principal place of business in 33 Irving Place, 3rd Floor, New York, New York 10003. Defendant
   Voyager, for purposes of this action, is therefore a citizen of New York.
              46.    Defendant VDL is an entity existing and incorporated pursuant to the laws of
   Delaware, with its principal place of business in Jersey City, New Jersey. Defendant VDL is
   therefore a citizen of Delaware and New Jersey.
                                       JURISDICTION AND VENUE
              47.    This Court has subject matter jurisdiction over claims under the Securities Act
   pursuant to 15 U.S.C. § 78aa and §1331, and supplemental jurisdiction over the entire action under
   28 U.S.C. § 1367. Further, this Court has subject matter jurisdiction over this action pursuant to


   26
        Id.


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   28 U.S.C. § 1332(d)(2)(A) because this is a class action for a sum exceeding $5,000,000.00,
   exclusive of interest and costs, and in which at least one class member is a citizen of a state
   different than the Voyager Defendants. Additionally, this Court has subject matter jurisdiction over
   this action pursuant to 28 U.S.C. § 1332(a)(1) as Plaintiff, a Florida citizen, brings his individual
   claims against Delaware, New Jersey, or New York citizens, and given the nature of the claims
   and the declaratory and injunctive relief sought, the amount in controversy is greater than
   $75,000.00, exclusive of interest and costs.
          48.     This Court has jurisdiction over Voyager because it is a foreign corporation
   authorized to conduct business in Florida, is doing business in Florida, has registered with the State
   of Florida, or does sufficient business in Florida, has sufficient minimum contacts with Florida, or
   otherwise intentionally avails itself of the Florida consumer market through the promotion,
   marketing, and sale of its EPAs in Florida, to Plaintiff and all those similarly situated, which
   constitutes committing a tortious act within the state of Florida.
          49.     For example, Voyager sells its stock OTC throughout the United States, including
   specifically in the state of Florida to Florida residents. As another example. in November 2020,
   Voyager hired Natalie Jaeger as the Head of Digital Marketing, and promptly began “a more
   aggressive marketing strategy which included digital advertising, increased social marketing, and
   increased influencer marketing using crypto centric influencers and professional athletes.” 27 Part
   of this aggressive marketing strategy, in addition to increased direct targeted marketing to
   consumers, has been to introduce an “interest rate hike campaign” known as “March Interest
   Mania,” where Voyager increased the rates of interest it would pay to customers to whom it had
   offered and sold EPAs. 28
          50.     As a result of this increased marketing, Voyager enjoyed explosive growth
   throughout the ongoing COVID-19 pandemic. In January 2021, Voyager closed on a private
   placement offering of 8,363,637 shares of common stock for gross proceeds of approximately
   $46.0 million. 29 In February 2021, Voyager closed on a private placement offering of 7,633,588


   27
      Id.
   28
      See “Voyager Digital Announces March Interest Mania Rate Increases” dated March 10, 2021,
   attached as Exhibit G.
   29
       See Voyager Digital LTD’ Management’s Discussion and Analysis for the Three and Six
   Months Ended December 31, 2020 (Exhibit H), 8.


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   shares of common stock for gross proceeds of approximately $100.0 million. 30 Unsurprisingly,
   Voyager allocated 50% of this increased budget towards marketing EPAs so it could “get that
   market share that we’re grabbing from everybody else right now and keeping accelerating the land
   grab.” 31
           51.    In addition to marketing and offering the EPAs for sale to U.S. consumers,
   including those in Florida, Voyager Digital LTD received revenue from lending and staking
   activities as a result of receiving investments in the EPAs from consumers like Plaintiff and
   similarly situated Florida residents. For fiscal year 2021, Voyager generated approximately $21
   million in fees on crypto assets loaned. 32 As Voyager’s CFO, Evan Psaropoulos, explained in
   Voyager’s latest earnings call, Voyager earned during Q2 of fiscal year 2022 “approximately $57
   million in lending and staking activities.” 33
           52.    This purposeful availment renders the exercise of jurisdiction by this Court over
   Voyager permissible under traditional notions of fair play and substantial justice.
           53.    Further, and alternatively, jurisdiction over Voyager is proper in that Voyager and
   VDL (1) have common stock ownership; (2) have common business departments; (3) file
   consolidated financial statements and tax returns; (4) do not keep separate their daily operations;
   and (5) share at least the following Executive Officers in common, who have the following
   overlapping duties and responsibilities across Voyager and its subsidiaries, including VDL:
      Name, province or
                                  Tenure with the
     state and country of                                           Principal occupation
                                    Company
           residence
    Stephen Ehrlich                                      Chief Executive Officer of Voyager and its
                               CEO & Director
    Connecticut, USA                                     US subsidiaries.
    Evan Psaropoulos                                     Chief Financial Officer of Voyager and
    New York, USA              Chief Financial           certain subsidiaries. Mr. Psaropoulos leads
                               Officer                   the finance, accounting and treasury
                                                         functions for Voyager.
    Gerard Hanshe              Chief Operating           Chief Operating Officer of Voyager and its
    New York, USA              Officer                   US subsidiaries. Mr. Hanshe is responsible

   30
      Id.
   31
      See Ex B.
   32
      see Annual Information Form dated October 27, 2021, attached as Exhibit I.
   33
      Ex. A.


                                                    19
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                                                        for overseeing the customer experience, the
                                                        business process and strategy, and treasury
                                                        and trading operations teams, and works
                                                        closely on coordinating their work with the
                                                        product, engineering, data analysis, finance
                                                        and marketing teams.
    Lewis Bateman                                       Chief International Officer of Voyager and
    Ontario, Canada                                     its US subsidiaries. Mr. Bateman is the
                             Chief International        executive leader for Voyager’s Canadian,
                             Officer                    European and Cayman based subsidiaries,
                                                        and heads all the Voyager strategic corporate
                                                        acquisitions and international expansion.
    Daniel Constantino                                  Chief Information Security Officer of
    Pennsylvania, USA                                   Voyager and its US subsidiaries. Mr.
                             Chief Information
                                                        Costantino leads all technical and
                             Security Officer
                                                        administrative cybersecurity programs for
                                                        Voyager.
    David Brosgol                                       General Counsel and Secretary of Voyager
    New York, USA                                       and General Counsel of its US subsidiaries.
                             General Counsel
                                                        Mr. Brosgol is responsible for the legal and
                                                        compliance functions of Voyager.
    Pam Kramer                                          Chief Marketing Officer of Voyager and its
    California, USA          Chief Marketing            US subsidiaries. Ms. Kramer oversees the
                             Officer                    brand, advertising, marketing, social media,
                                                        customer insights and more.
    Rakesh Gidwani                                      Chief Technology Officer at Voyager and its
    New Jersey, USA                                     US subsidiaries. Rakesh leads the evolution
                             Chief Technology
                                                        of the Platform and systems as Voyager
                             Officer
                                                        continues its plans for international
                                                        expansion.


          54.    For example, discovery has demonstrated that for the calendar year 2021 alone,
   Voyager received nearly $29 million in trading revenue from VDL—which is separate from
   Voyager’s interest revenue from the EPAs. Further, Voyager allocated funds from its
   approximately $200 million in capital raises to finance VDL’s marketing of the Voyager Platform,
   Moreover, discovery has uncovered evidence that Voyager finances VDL’s operations, provides
   compensation to VDL’s employees in the form of, among other things, various stock options and


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   other monetary compensation and incentives, and treats VDL’s property as its own, such has when
   both utilize the investvoyager website for marketing and selling their various products and
   communicating with Voyager’s investors. For these alternative reasons, too, then, jurisdiction over
   Voyager is proper.
          55.     This Court has jurisdiction over VDL because it is a foreign corporation authorized
   to conduct business in Florida, is doing business in Florida, has registered with the State of Florida,
   or does sufficient business in Florida, has sufficient minimum contacts with Florida, or otherwise
   intentionally avails itself of the Florida consumer market through the promotion, marketing, and
   sale of the Voyager Platform in Florida. This purposeful availment renders the exercise of
   jurisdiction by this Court over VDL permissible under traditional notions of fair play and
   substantial justice. Notably, Defendants have not contested and have instead admitted that this
   Court has personal jurisdiction over VDL throughout this litigation.
          56.     Venue is proper in this District under 28 U.S.C. § 1391 because the Voyager
   Defendants each maintain substantial operations in this District; thousands of Class Members
   either reside or did business with the Voyager Defendants in this District; the Voyager Defendants
   engaged in business in this District; a substantial part of the events or omissions giving rise to the
   claims at issue occurred in this District; and because the Voyager Defendants entered into
   transactions and received substantial profits from Class Members who reside in this District.
   Venue is further proper pursuant to 15 U.S.C. § 78aa.
          57.     All conditions precedent to the institution and maintenance of this action have been
   performed, excused, waived, or have otherwise occurred.
                                      FACTUAL ALLEGATIONS
      A. Voyager’s Offer and Sale of EPAs Extensively in the State of Florida and Throughout
          the United States
          58.     On October 23, 2019, Voyager began offering EPAs for sale to consumers
   throughout the United States, including the state of Florida. Voyager initially launched the EPAs
   for customers holding Bitcoin, but thereafter extended them periodically to include dozens of other
   crypto assets, including USDC and Ethereum through end of fiscal year 2021.




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           59.     According to Voyager’s Annual Information Form filed with Canadian regulators,
   “Rewards earned on crypto assets are variable, and reward rates are determined by Voyager at its
   sole discretion.” 34
           60.     For fiscal year 2021, Voyager generated approximately $21 million in fees on
   crypto assets loaned. 35 Voyager earned during Q2 of fiscal year 2022 “approximately $57 million
   in lending and staking activities.” 36 To generate this revenue, Voyager independently negotiates
   with institutional borrowers the terms of each unsecured institutional loan agreement, and selects
   which and how much of its crypto assets are available for such lending activity. In the event of
   bankruptcy or insolvency of an institutional borrower under a loan, Voyager bears the credit risk
   of lending crypto assets under the loan. 37
           61.     Voyager maintains that it does not support, custody, intermediate, or facilitate any
   transaction or activities with respect to any product that constitutes a “security,” and, therefore,
   believes that it is not required to be registered in any capacity under applicable United States
   securities laws. 38 Voyager’s conclusion is apparently drawn from its position that although the
   SEC had previously communicated to industry participants that it will apply existing securities
   laws, including the Howey Test, a four-part test developed by the U.S. Supreme Court to determine
   whether a particular “investment contract” is a security, to digital assets, the Howey Test is almost
   75 years old, was not designed with digital assets in mind, and its application is fact-based. 39
           62.     At the same time, Voyager acknowledges that “it is possible that the SEC could
   come to a different conclusion” than Voyager, which “could result in [Voyager] being required to
   become registered, removing certain digital assets from its platform, or being required to cease
   certain of its operations.” 40
           63.     As Plaintiff’s expert, Rich Sanders, explains in his supplemental report Voyager’s
   Earn program is functionally nearly entirely identical to similar programs offered by firms such as



   34
      see Ex. I.
   35
      see Ex. I.
   36
      see Ex. A.
   37
      see Ex. I.
   38
      see Ex. I.
   39
      see Ex. I.
   40
      see Ex. I.


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   Celsius and BlockFi. 41 The differences between these companies and their respective programs
   are extremely minimal; as some examples, differences come down to phrasing (use of words like
   “interest” versus “rewards”), how frequently rewards are paid out (daily, weekly, or monthly, most
   commonly) or specific cryptocurrencies that are offered as part of the program. 42
          64.     Just like BlockFi settled with regulators, as explained above, Celsius, another
   Voyager competitor with a nearly identical “earn” program, quickly followed suit by revising their
   “earn” program by introducing “Celsius’ Custody Solution,” which only allows accredited U.S.
   investors to earn rewards on their crypto asset holdings. 43 To-date, Sanders explains, Voyager has
   not taken any similar actions, noting that “it is possible that Voyager instead opts to (continue to)
   benefit from the influx of users from BlockFi and Celsius, opting to take this action at a future date
   – whether voluntarily or by being compelled to do so.” 44
          65.     In further describing the risks that stem from Voyager’s offering and sale of the
   EPAs as unregistered securities, Sanders goes on to explain: 45
                  There have been extensive releases, statements, and actions from
          government agencies related to cryptocurrency in recent history. Secretary Yellen’s
          remarks on digital assets leave no room for mystery. The first priority includes
          consumer protection; this is not accidental. The fifth priority states equitable access
          to safe and affordable financial services. To state the obvious, it is the opposite of
          safe to invest a significant portion of your net worth (let alone your life’s savings)
          into activity such as DeFi staking. To invest a significant portion of someone else’s
          net worth into activity such as DeFi staking, while painting a picture of far different
          asset use, adds a layer of dishonesty on top of risk.
                  Customers of firms like BlockFi and Voyager are led to believe that their
          assets are being utilized largely by reputable institutions, not that their assets are
          being day-traded on platforms like Binance or utilized for extremely high-risk DeFi
          activity. In simpler terms, the risk and reward of loaning Ethereum to a reputable
          and audited western institution, as opposed to rehypothecation of that Ethereum
          into DeFi yield farming, are on entirely different ends of the spectrum. The risk
          associated with this reality transcends not just risk for the misled customers of firms

   41
      Sanders Supp. ¶ 4
   42
      Id.
   43
       Sanders Supp. ¶ 6 (citing https://blog.celsius.network/important-celsius-update-to-our-us-
   clients-6df471420cc7) (last accessed April 28, 2022).
   44
      Sanders Supp. ¶ 6
   45
      Sanders Supp. ¶¶ 9–10.


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           like Voyager and BlockFi that stand to lose significant portions of their net worth,
           but would be something I would categorize as an item of national security interest:
           an increased likelihood of a hack means an increased likelihood of siphoning of
           hundreds of millions or even billions of dollars’ worth of value out of the western
           economy and into the hands of, for example, North Korea. 46 While true a western
           institution using loaned Bitcoin for arbitrage trading could be hacked, this is
           generally a less likely threat than the risk of a DeFi hack. In short, companies like
           Voyager and BlockFi misrepresent the risk of utilizing their interest/earn programs
           since they misrepresent what customer assets are used for, disregarding and
           concealing risk, for the sake of making a risky quick buck.
           66.     Under federal securities laws as construed by the United States Supreme Court in
   its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC, an investment contract
   is a form of security under United States securities laws when (1) the purchaser makes an
   investment of money or exchanges another item of value (2) in a common enterprise (3) with the
   reasonable expectation of profits to be derived from the efforts of others. Voyager’s EPAs offered
   and sold to Plaintiff and similarly situated consumers were a “security” as defined by the United
   States securities laws and as interpreted by the Supreme Court, the federal courts, and the SEC.
           67.     The Securities Act and the Exchange Act were designed to “eliminate serious
   abuses in a largely unregulated securities market.” United Housing Found., Inc. v. Forman, 421
   U.S. 837, 849 (1975). They are focused, among other things, “on the capital market of the
   enterprise system: the sale of securities to raise capital for profit-making purposes . . . and the need
   for regulation to prevent fraud and to protect the interest of investors. Id. Under Section 2(a)(1) of
   the Securities Act and Section 3(a)(10) of the Exchange Act, a security includes any “note.” See
   15 U.S.C. §§ 77b & 78c. A note is presumed to be a security unless it falls into certain judicially-
   created categories of financial instruments that are not securities, or if the note in question bears a
   “family resemblance” to notes in those categories based on a four-part test. See Reves v. Ernst &
   Young, 494 U.S. 56, 64–66 (1990), and its progeny. Applying the Reves four-part analysis, the
   EPAs were notes and thus securities. First, Voyager offered and sold EPAs to obtain crypto assets
   for the general use of its business, namely to run its lending and investment activities to pay interest
   to EPA investors, and purchasers bought EPAs to receive interest on the loaned crypto assets.


   46
         https://techcrunch.com/2022/04/15/us-officials-link-north-korean-lazarus-hackers-to-625m-
   axie-infinity-crypto-theft/ (last accessed April 28, 2022)


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   Second, EPAs were offered and sold to a broad segment of the general public. Third, Voyager
   promoted EPAs as an investment, specifically as a way to earn a consistent return on crypto assets.
   Fourth, no alternative regulatory scheme or other risk reducing factors exist with respect to EPAs.
          68.     Under Section 2(a)(1) of the Securities Act and Section 3(a)(10) of the Exchange
   Act, a security includes “an investment contract.” See 15 U.S.C. §§ 77b, 78c. Based on the facts
   and circumstances set forth herein, the EPAs were securities because they were notes under Reves
   v. Ernst & Young, 494 U.S. 56, 64–66 (1990) and its progeny, and also because Voyager offered
   and sold the EPAs as investment contracts, under SEC v. W.J. Howey Co., 328 U.S. 293, 301
   (1946) and its progeny, including the cases discussed by the SEC in its Report of Investigation
   Pursuant To Section 21(a) Of The Securities Exchange Act of 1934: The DAO. 47 Voyager
   promised EPA investors a variable interest rate, determined by Voyager on a periodic basis, in
   exchange for crypto assets loaned by the investors, who could demand that Voyager return their
   loaned assets at any time. Voyager thus borrowed the crypto assets in exchange for a promise to
   repay with interest. Investors in the EPAs had a reasonable expectation of obtaining a future profit
   from Voyager’s efforts in managing the EPAs based on Voyager’s statements about how it would
   generate the yield to pay EPA investors interest. Investors also had a reasonable expectation that
   Voyager would use the invested crypto assets in Voyager’s lending and principal investing
   activity, and that investors would share profits in the form of interest payments resulting from
   Voyager’s efforts. Further, as Rich Sanders demonstrates in his Preliminary Report, once an
   investor purchases a EPA from Voyager and invests assets into it, Voyager customer assets are
   consolidated into accounts operated by a common enterprise. 48 “Blockchains don’t lie, and the
   tracing of Voyager customer deposits to common enterprise accounts is very clear.” 49 Voyager
   offered and sold the EPAs to the general public to obtain crypto assets for the general use of its
   business, namely to run its lending and investment activities to pay interest to EPA investors, and
   promoted the EPAs as an investment. Voyager offered and sold securities without a registration
   statement filed or in effect with the Commission and without qualifying for an exemption from




   47
      https://www.sec.gov/litigation/investreport/34-81207.pdf (last accessed April 28, 2022)
   48
      Sanders Supp. ¶ 11.
   49
      Id.


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   registration; as a result, Voyager violated Sections 5(a) and 5(c) of the Securities Act of 1933
   (“Securities Act”).
        B. The Deceptive Voyager Platform
           69.      The Deceptive Voyager Platform offers investors, developers and platform
   providers a fully functional suite of APIs and mobile apps to allow anyone who is legally able to
   do so the ability to trade, invest, earn and secure digital assets across multiple types of digital
   assets. 50 According to its creators, “The Voyager Platform provides its customers with competitive
   price execution through its smart order router and as well as a custody solution on a wide choice
   of popular crypto-assets. Voyager was founded by established Wall Street and Silicon Valley
   entrepreneurs who teamed to bring a better, more transparent, and cost-efficient alternative for
   trading crypto-assets to the marketplace.” 51
           70.      VDL, one of Voyager’s subsidiaries, acts as a “crypto broker,” being a digital agent
   broker that facilitates users buying and selling of cryptocurrencies delivering deep pools of
   liquidity. 52 It also offers a single access point to research, manage, trade, and secure
   cryptocurrencies for novice and sophisticated investors. 53 Some of the services offered by VDL
   include:
                 (a) users can open an account in three minutes or less. VDL utilizes third party service
                    providers for know-your-client and anti-money-laundering checks to ensure fast
                    and secure account openings;
                 (b) users are able to trade between fiat and cryptocurrency on a wide variety of core
                    and alternative cryptocurrencies;
                 (c) execution of trade orders across a spectrum of exchanges to give Voyager the
                    deepest pool of liquidity;
                 (d) minimizing transaction costs by aggregating orders and routing the order flow
                    through the optimal mix of exchanges, by utilizing VDL’s patented smart router
                    technology;


   50
      See Ex. H.
   51
      See “Voyager Digital and Market Rebellion to Form Online Broker Platform for Equities,
   Options, and Futures Trading,” dated May 5, 2021, attached as Exhibit J.
   52
      See Ex. H.
   53
      Id.


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                 (e) providing users with data in order for them to manage and track their crypto
                    investments, including delivering news, social feeds and real-time alerts to keep
                    users connected to the market, and providing portfolio tools to track performance,
                    balances and transactions; and
                 (f) storing crypto assets in a secure wallet and in a “cold” facility, with 24/7 security.
                    (fiat currency is stored at custodial banks). 54
           71.      Further, during the months of January, February, and March 2021, 65,000, 70,000,
   and 95,000 new funded accounts were onboarded onto the Voyager Platform with net deposits of
   $170M, $400M, and $650M, respectively: 55




   As of March 31, 2021, Voyager’s Assets Under Management exceeded $2.4 billion, with total
   funded accounts exceeding 270,000 and over 1 million total verified users on the Platform. 56
           72.      Moreover, during the month of April 2021 alone, new users were onboarded “at a
   record rate with over 130,000 new funded accounts added to the platform.” 57
        C. VDL’s Uniform “100% Commission-Free” Misrepresentations
           73.      Included prominently throughout VDL’s uniform marketing representations to its
   customers is that the Voyager Platform offers trades that are “100% Commission-Free.”




   54
      Id.
   55
      See “Voyager Digital Provides Business Update and March 2021 Metrics,” dated April 6, 2021,
   attached as Exhibit K.
   56
      Id.
   57
      See “Voyager Digital Provides Business Update for April,” dated May 3, 2021, attached as
   Exhibit L.


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          74.     These representations enable VDL to obtain an edge over its competitors, including
   but not limited to Coinbase, Gemini, Kraken, and Binance, who openly display the applicable fees
   and commissions they charge on each trade.
          75.     These “100% Commission-Free” representations, however, are false and are
   reasonably likely to mislead objective consumers acting reasonably under the circumstances.
   While VDL does not openly display the commissions it charges on each cryptocurrency trade, it
   utilizes various methods to secrete the exorbitant commissions it retains from every trade.
          76.     For example, the “spread” (i.e., the difference between the “Bid Price” and “Ask
   Price” on a given cryptocurrency) is kept intentionally wide on all cryptocurrencies listed
   throughout the Voyager Platform. Voyager explains in its most recent Management’s Discussion
   and Analysis that the spread is a main source of revenue: 58
          Fee revenue for the three and nine months ended March 31, 2021 was $53.7 million
          and $57.4, an increase of $53.5 and $57.1 compared to the same periods in 2020.
          The increase in the three months ended March 31, 2021 compared to the three
          months ended March 31, 2020 was primarily due to an increase of $5.0 billion in
          trade volumes, and an increase in average spread of 70.1 bps. The increase in the
          nine months ended March 31, 2021 compared to the nine months ended March 31,
          2020 was primarily due to an increase of $5.5 billion in trade volumes, and an
          increase in average spread of 60.6 bps.
          77.     Similarly, Founder and President, Steve Ehrlich, explains the importance of “spread
   revenue” to his investors at the earnings call for Voyager’s Second Quarter for Fiscal Year 2021: 59
          With the growth of assets under management, we remind investors of our 2 main
          revenue sources, spread revenue and interest revenue. Estimated spread revenue is
          derived by the trading velocity of our assets while interest revenue was driven by
          the gross interest earned on the overall assets under management. Historically, the
          company has earned between 10 to 12% annualized revenue on assets under
          management.
          At this point, I would also like to remind investors of certain drivers of our business.
          As in agency brokerage business, market volatility can often act as our friend.
          Voyager executes trades and captures spread revenue in both up and down markets.
          One example of the powerful agency model happened on Tuesday, February 23rd
          when Bitcoin decreased from a high of $56,000 to $45,000. That day, Voyager



   58
      See Voyager Digital Ltd. Management’s Discussion and Analysis for the Three and Nine Months
   Ended March 31, 2021, dated May 25, 2021, attached as Exhibit M.
   59
      See Ex. B.


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           experienced a record day for trading volume, revenue and net deposits. Investors
           were very active buying the dips across all of the coins Voyager offers.
           78.     Although the Voyager Platform will display a “Fair Market Price” for each
   cryptocurrency, which falls somewhere in the middle of the spread, the Voyager Platform’s
   systems will automatically execute market orders at the highest end of the spread, from which they
   pocket secret commissions. Moreover, once a user submits a market buy order, the “Estimated
   Price” for the trade displayed on the Voyager Platform automatically defaults to an amount higher
   than the quoted “Ask Price” at the top end of the spread, so that an order can execute at an amount
   that is “less” than the “Estimated Price,” but still at the very top end of the spread. Similarly, for
   market sell orders, the trade will automatically default to an amount lower than the quoted “Bid
   Price” at the bottom end of the spread so that the order can execute at an amount that is “more”
   than the “Estimated Price,” but still at the bottom end of the spread.
           79.     To effectuate these unfair and deceptive business practices, VDL claims to use
   proprietary systems, which they refer to as the “Smart Order Router,” the “Voyager Pricing
   Engine,” and the “Proprietary Fills Algorithm.” 60
           80.     In describing the Smart Order Router, VDL maintains that the Voyager Platform
   “does not let clients post orders directly on the exchanges to which it connects or with the market
   makers that provide liquidity, but instead its Smart Order Router accepts customer orders and fills
   them in the market for the customer using its proprietary order routing algorithm.” 61 The Voyager
   Pricing Engine “calculates the fair market price while constantly analyzing the order books,
   executions, depth of liquidity, commissions and other proprietary factors across our liquidity
   sources and streams this price to its users.” 62
           81.     To obscure this overarching scheme, VDL utilizes vague and opaque
   representations that VDL will only “share” in “price improvement” where they can fill a user’s
   order at a price better than that which was quoted to the user (which is not in the bid/ask spread or
   fair market price, but rather in the jacked up estimated price that is only shown after the customer



   60
       See “Passion for Product: Voyager Trading System,” published Jan 23, 2020 at
   https://www.investvoyager.com/blog/passion-for-product-trading/ (last accessed April 28, 2022)
   61
      Id.
   62
      Id.


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   submits the market order). 63 “By example, if the user is quoted $10,040 and the router is able to
   fill at $10,030, Voyager may price improve the user’s order to $10,035 (note: share of price
   improvement is variable and is determined by Voyager’s proprietary fills algorithm).” 64
          82.     In reality, and unbeknownst to customers, the “Smart Order Router,” “Voyager
   Pricing Engine,” and “Proprietary Fills Algorithm” are designed to be intentionally obscure and to
   provide VDL with hidden commissions on every trade that in most cases exceed the disclosed fees
   and commissions charged by its competitors. VDL unfairly gains an edge on its competition and
   overcharges customers by collecting these secret commissions to the detriment of its unknowing
   customers.
          83.     In support of these allegations, Plaintiff attaches the preliminary expert reports of
   (a) Richard A. Sanders, the Co-Founder and Lead Investigator of CipherBlade, a blockchain
   forensics and cybercrime investigative firm which consults on some of the most renowned
   blockchain projects, as well as numerous law enforcement and regulatory investigations, and
   provides advisory services to cryptocurrency exchanges and other organizations; 65 and (b) Dr.
   Stephen Peter Castell, a Chartered IT Professional, independent consultant in computer and
   telecommunications systems and software development, and the Chairman of the United Kingdom
   company CASTELL Computer and Systems Telecommunications Limited, a professional firm of
   Management and Financial Consultants in Information Technology of over 40 years’ standing. 66
          84.     Richard Sanders utilized a blockchain visualization tool called Chainalysis Reactor
   in forming the opinions set forth in his report. Mr. Sanders explains that Chainalysis Reactor
   provides a visualization of the same data that would be viewable on a block explorer, but unlike
   block explorer, Chainalysis Reactor has what is known as “attribution.” Attribution is simply the
   labeling of wallet addresses. 67 “Chainalysis Reactor (as well as similar tools) will have a baseline
   amount of what is known as attribution: the labeling of wallet addresses. Addresses will be
   unknown/pseudonymous until Chainalysis updates/labels the addresses in their system. A



   63
      Id.
   64
      Id.
   65
      See Exhibit N
   66
      See Exhibit O
   67
      Sanders report at ¶ 18


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   combination of automated analysis and manual investigation is utilized to continually add
   attribution. 68
           85.       Mr. Sanders found through his analysis that Voyager had an alarmingly low number
   of addresses attributed, far below the expected industry standard. “While it is true that no services
   (not even the most voluminous exchanges, such as Coinbase or Binance) will ever have all
   addresses attributed, services that have a lower amount of addresses attributed oftentimes lack such
   attribution as a result of the entity not utilizing a compliance tool such as Chainalysis KYT (the
   compliance equivalent of Chainalysis Reactor), and/or not submitting address data to such
   providers. VDL currently has 1 Bitcoin address attributed in Chainalysis Reactor, a figure far lower
   than industry standard.
           86.       For example, Voyager competitor Celsius has 277,287 attributed addresses for
   Bitcoin in Chainalysis Reactor. A service with such aggressive marketing as VDL, according to
   Sanders, should have more address attribution. VDL’s lack of attribution may at least partially
   have to do with how VDL processes customer deposits and withdrawals, which is distinctly
   different (perhaps deliberately) from their competitors and obfuscates potential attribution
   efforts. 69 Further, attribution for VDL wallet addresses for other blockchains was scarce and in
   some cases non-existent. While attribution for some more less-utilized assets (say, LTC or the
   ERC-20 tokens) may often have gaps, for attribution on widely-utilized assets (such as Ethereum)
   to be lacking immediately stands out. Sanders therefore performed manual attribution for VDL
   addresses.” 70
           87.       Mr. Sanders found through his analysis that VDL lacks necessary transparency on
   their platform and programs, and that opacity materially affects a customer’s ability to make an
   informed decision with their money. “Voyager is not transparent. As described in the preceding
   paragraph regarding the Voyager Interest Program, it is impossible for consumers to make an
   informed decision regarding whether to deposit funds to Voyager or not. Further, even if an
   individual opts out of the Voyager Interest Program, nothing evidences customer funds are not




   68
      Id. at ¶ 20
   69
      Id. at ¶ 22
   70
      Id. at ¶ 23


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   rehypothecated, rendering Voyager customers susceptible to the risk of this rehypothecation
   whether or not they have the risk appetite and/or desire to sign up for such activity.” 71
          88.     According to Mr. Sanders, VDL fails to communicate to its users exactly what extra
   fees apply to their transactions, how exactly transactions are being executed, and employs
   misleading advertising to lure in customers:
          Voyager is deliberately misleading, and often refuses to substantiate information
          that is essential for a consumer to make an informed decision. As one prominent
          example, Voyager strongly advertises “Commission-free” trading on their landing
          page, but no such fees are ever clearly outlined. In the absence of any specificity
          regarding “the marketplace,” it is impossible for a consumer — or anyone for that
          matter — to determine which “marketplaces” (exchanges?) Voyager is determining
          to provide the “best execution.” There would, indeed, presumably be a set price for
          a market order, which would be derived from an aggregate of the exchanges
          Voyager is sourcing liquidity from. In the simplest terms possible, it is entirely a
          black box as to what Voyager is doing with orders purportedly directed to their
          Smart Order Router, where (which exchanges) the Voyager Pricing Engine
          “calculates the fair market price” from, and how the Proprietary Fills Algorithm
          functions — and in the absence of such information, as well as demonstrable
          discrepancies between what Voyager says should happen and what happens, these
          systems are either improperly configured, or to varying degrees may not even exist
          or exist as described by Voyager. Phrasing such as “evaluation of multiple factors”
          is, per my experience regarding all companies that were suspected of, and
          subsequently confirmed to be, misleading consumers, extremely concerning. The
          utilization of seemingly-technical jargon, and/or otherwise unspecified yet
          critical information, often result in tragedy for consumers. 72 In the absence of any
          information whatsoever regarding how Voyager is processing customer orders, it
          is functionally impossible to verify that Voyager is even performing the steps
          described on their own FAQ. Voyager, in essence, is expecting the same degree of
          trust from users that Bitconnect expected from their users regarding a ‘trading
          bot’ that turned out to never exist. Voyager is undoubtedly profiting off of
          customers utilizing the trade functionality of the Voyager platform, and is
          irrefutably not providing best execution. Voyager cannot both claim to provide best
          execution and be commission-free when it is easily evidenced that numerous other
          exchanges provide better rates. 73
          89.     Mr. Sanders further explains that VDL’s advertising claim that their platform
   provides the best execution of trades for users is plainly and demonstrably false:


   71
      Id. at ¶ 27
   72
      https://www.makeuseof.com/the-rise-and-fall-of-bitconnect-an-internet-famous-ponzi-scheme/
   (last accessed April 28, 2022)
   73
      Id. at ¶ 29 (emphasis in original and added)


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          The exchange rates provided by Voyager are consistently worse than the rates
          provided by cryptocurrency exchanges -- regardless of whether the exchange is
          centralized or decentralized, US-based or not US-based, etc. For Voyager to
          suggest they are providing any form of ‘best execution’ across the marketplace is
          demonstrably false. What makes Voyager’s representations even more egregious is
          that, in the course of my analysis, I had performed extensive cryptocurrency
          deposits and withdrawals in order to discover cryptocurrency wallet addresses that
          Voyager utilizes for customer funds. Customer assets are sent to/from either
          Binance or HTC Trading wallets. Comparing exchange rates on Voyager to those
          on Binance resulted in Binance having better exchange rates on every occasion.
          Said differently, the one exchange that it is possible to assess Voyager would be
          including across their marketplace comparison (and thus should reflect the same
          price in Voyager app) provided a better deal than Voyager. 74
          90.     Mr. Sanders also obtained comparison data from VDL’s competitors, such as
   Celsius, which further demonstrates the Deceptive Voyager Platform’s vast deviation in number
   of attributed addresses from the expected industry standard. Mr. Sanders explained that “[u]pon a
   search of Celsius, a core Voyager competitor, their addresses are well-attributed; note the
   requirement to scroll down to see the full depth of cryptocurrencies that Celsius wallets are
   attributed in. Upon a search for Voyager, only four cryptocurrencies are attributed, and of
   those, the attribution is partial.” 75
          91.     This lack of attribution indicates, in Mr. Sanders’ view, that VDL demonstrates a
   possibility of noncompliance and lack of responsibly managed services on their platform
          While a service not being attributed in Chainalysis does not confirm the service is
          suspicious, it is generally typical for compliant and responsibly-managed services
          to have attribution in a tool like Chainalysis Reactor for several reasons: Companies
          will sometimes provide their wallet addresses to companies like Chainalysis in
          order to be helpful to law enforcement and/or decrease the overhead associated with
          false positives and inquiries that would otherwise stem from a lack of attributed
          wallet addresses. 76
          92.     This lack of compliance is further illustrated in Voyager’s heavy utilization of non-
   U.S. based fund-receiving addresses which do not reflect the targeted customer demographic:
          While proportionality and focus at this time preclude me from providing a deeper
          review into Voyager’s AML practices, observations regarding Voyager addresses
          (and the nature of the entities they send and receive cryptocurrencies from) while

   74
      Id. at ¶ 30
   75
      Id. at ¶ 34
   76
      Id. at ¶ 35 (emphasis added)


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          conducting my attribution work did prompt concerns. As just one example,
          Voyager’s known Bitcoin address sends funds to exchanges that are not US-based
          or even preclude US residents from signing up (KuCoin, Binance, Byibit, and FTX
          would all be strong examples.) In essence, where Voyager customers withdraw
          funds to does not reflect what I’d expect a US-based company soliciting US-based
          users 77 to send funds to. In my experience, when I see sending exposure that does
          not reflect the targeted demographic, the company attributed to the wallet(s) has an
          (often intentional) porous approach to compliance; said differently, I find it very
          unlikely that the quantity of Source of Wealth inquiries Voyager sent to customers
          due to these observations (assets going to US-restricted exchanges) would match
          the statistics shown above. 78
          93.     Not only does VDL fail to deliver on their advertising promise of “Better Pricing
   On Trades,” they charge their users the highest premium on trades across all competitors.
   According to Mr. Sanders, “On all but one occasion (which was for a less liquid cryptocurrency,
   ZRX, in a small amount, on FTX), Voyager’s prices were worse than whichever exchange they
   were compared to. Voyager does not offer better pricing on trades. In fact, the rates Voyager offers
   would result in a plainly worse deal, often to the tune of nearly or more than 1% higher than
   competitors, even on highly liquid pairs such as BTC/USD.” 79 “Consequently, VDL’s
   representation of offering “Better Pricing on Trades” is, under the most generous of terms,
   deliberately misleading (it is obvious that would lead most people to conclude “across
   exchanges”), and I’d opine deliberately misleading in a way that is plainly to enrich themselves at
   the expense of that very misconception Voyager instills.” 80
          94.     Upon further testing, Mr. Sanders also found it probable that VDL is not basing
   their market quotes off exchanges:
          Baffled as to how Voyager may be generating the quotes for market buy/sell orders,
          I decided to run one more test on Voyager regarding USD/USDC. USDC is a
          cryptocurrency known as a stablecoin, which should be close to the value of the
          USD; however, these assets are never entirely 100%-pegged. 81 Consequently, if
          one goes onto a cryptocurrency exchange (with legitimate liquidity -- so Coinbase
          or Kraken would be good choices, whereas an exchange known for fake volume,


   77
       https://www.investvoyager.com/blog/where-is-voyager-available/ (last accessed April 28,
   2022)
   78
      Id. at ¶ 43
   79
      Id. at ¶ 47
   80
      Id. at ¶ 48
   81
      https://invao.org/how-stable-are-stablecoins/


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          which is also likely to have fake order books, such as HitBTC 82 might not be), and
          seeks to trade between a stablecoin and fiat, the exchange will not be an exact 1:1
          match. Note that when entering tens or hundreds of millions of dollars into a USDC
          buy order on Kraken, the peg noticeably is lost, as it should be. Note that on
          Voyager it does not. See: Exhibit E – Infinite Stability.mp4 [accessible at
          https://youtu.be/zF5nHhLhpaM]. 83 In the absence of any indication Voyager is
          sourcing funds from exchanges, as well as the alarming revelation that Voyager
          purports to effectively have infinite USDC stores at peg, I am thus left to conclude
          that it is possible, if not probable, Voyager is not basing their market quotes off
          exchanges. The explanation may simply be that Voyager sources liquidity from
          Binance at a markup.” 84 “Notably, with Binance’s known AML issues, even if
          Voyager were transparently providing Binance’s rates on cryptocurrency trades
          (which they are not) to US users, Voyager is effectively a workaround for Binance
          being restricted to US residents and Voyager cannot know, with confidence, what
          their ultimate source of funds is. Such activity would be, from a value
          transfer/blockchain analysis standpoint, described as a workaround to US
          regulatory requirements and cryptocurrency exchange terms of use. 85
          95.     This probability is further bolstered by the questionability of VDL’s business
   activity with Binance. Mr. Sanders states:
          I can evidence, and have evidenced, that Voyager sends funds to HTC Trading 86
          and Binance. What happens with those funds when sent to HTC Trading is a black
          box (until/unless records are provided), but what one can conclude is Voyager, or
          the company they own/act through, HTC Trading, has one or more Binance
          accounts. If Voyager were, in fact, being honest about providing the best rates to
          their users, it would only be sensible to include in the hypothetical set of exchanges
          they are getting these alleged best rates from: namely Binance. Said differently:
          why does Voyager send customer funds to Binance where they presumably
          hold account(s) yet a Voyager customer will consistently get a better deal on
          Binance than is shown on Voyager? As far as the blockchain is concerned, the
          one place I can definitively assess Voyager receiving liquidity from is Binance, yet
          Voyager’s rates were worse than Binance every time. 87


   82
          https://cointelegraph.com/news/bitwise-calls-out-to-sec-95-of-bitcoin-trade-volume-is-fake-
   real-market-is-or (last accessed April 28, 2022)
   83
      Id. at ¶ 50
   84
      Id. at ¶ 51
   85
      Id. at ¶ 53
   86
      Notably, when asked at deposition about Voyager’s wholly-owned subsidiary, HTC Trading,
   Inc., even when shown Sanders’ analysis and chart from Chainalysis indicating that VDL is routing
   trades through HTC Trading, Voyager’s corporate representative claimed that HTC Trading holds
   no accounts and conducts no operations. See LTD Tr. excerpts (Exhibit P), 37:7–38:15, 44:3–
   45:19.
   87
      Id. at ¶ 55


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           96.     Mr. Sanders lastly concludes, in line with what Plaintiff alleges:
           Voyager has fraudulently conducted business by making false claims, utilizing
           misleading marketing, and obscuring the truth behind what Voyager does with
           customer’s funds, and what fees users are charged. “Voyager’s aggressive
           expansion in the late 2020/2021 bull market is, in my estimation, plainly targeting
           inexperienced cryptocurrency users/investors that would not have the experience to
           know better. New cryptocurrency users rely on active industry participants
           (companies such as Voyager, and “educators/influencers”) to provide them with
           good-faith insight and not mislead them. Voyager’s representations, namely those
           about commission-free and best price trading, would undoubtedly be understood to
           mean what they say they mean whether by a cryptocurrency novice or a deeply
           experienced expert.” 88
           97.     Dr. Castell similarly conducted a careful preliminary analysis to demonstrate the
   potential scope of damages resulting from VDL’s overcharges. This analysis, “relying on
   Voyager’s own reported figures,” reflected that VDL’s conduct has likely resulted or will result in
   over 1.08 billion dollars in damages to its users. 89
           98.     Dr. Castell agrees with Mr. Sanders in that VDL does not actually execute trades at
   the “best market price” as they advertise. “In summary, it is my firm preliminary opinion that the
   Voyager App does not materially provide the user functionality as represented by Voyager Digital
   as regards achieving the ‘best market price’ for the user/trader.” 90
           99.     The Voyager app was likely deliberately designed to not provide the actual
   functionality aspects represented to users. Dr. Castell states:
           Furthermore, in my preliminary opinion the failure of the Voyager App to provide
           the represented functionality is likely to be centered principally within elements of
           the coding or programmed behavior of the “Smart Order Router,” and/or the
           “Voyager Pricing Engine,” and/or the “Proprietary Fills Algorithm”, either acting
           alone, amongst themselves, or in conjunction with the Voyager Digital corporate
           software and systems with which these modules connect and inter-operate. 91
           In my preliminary view it is clear that the available technical evidence shows that
           the Voyager App does not materially provide the user functionality as represented
           by Voyager Digital as regards achieving the “best market price” or “fair market
           price” for the user/trader. 92

   88
      Id. at ¶ 67
   89
      Castell report at ¶ 43
   90
      Id. at ¶ 45
   91
      Id. at ¶ 46
   92
      Id. at ¶ 40


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           100.    This obscurity leading to charging customers extra hidden fees is most likely known
   to VDL at least at this time, or earlier. Dr. Castell explains,
           …whether through an unintentional failure, or deliberate act, in my view such
           overcharge provisionally appears to be a definite software material defect, and it
           seems highly unlikely to me that the Voyager Digital company’s IT and corporate
           management did, and does, not know (and, if not, it should), what was and is
           happening as regards this software material defect and its overcharge/undisclosed
           commission financial consequences to the Voyager App user. 93
           101.        According to Dr. Castell, each time a user was overcharged on their purportedly
   “commission free” trades, that overcharge amounted to no less than 0.5% of the total value of that
   user’s trade. “In my view this overcharge to the Voyager User may be characterized or thought of
   as essentially an undisclosed commission levied by Voyager Limited. The overcharge/ undisclosed
   commission varied somewhat per individual trade, between approximately 0.5% and 1% of the
   value of the trade, across all trades in the sample, i.e. the overcharge was never less than 0.5% of
   the value of the trade.” 94
           102.    According to Dr. Castell, it is a fact that there is a definite material defect in the
   design of the Voyager Platform software, either deliberately or negligently:
           In the meantime, whether the overcharge is as a result, on the part of Voyager
           Digital’s management, of a fault in Voyager Digital’s software development
           management, i.e. the company’s software design, build, testing, deployment and
           operational processes, or arises from a deliberate intent of the company to deceive
           and overcharge the users of its Voyager App, or some combination of both, in my
           view and experience, and dependent, as noted herein, on due inspection and
           examination of the software development, management and operational
           documentation to be disclosed by Voyager Digital, such overcharge provisionally
           appears to me to be a definite software material defect. I naturally defer to the court
           to make that finding legally in due course, and, if so, determine what restitution and
           compensation falls to be provided by Voyager Digital for the financial
           consequences of such a software material defect. 95
           103.    That said, Dr. Castell believes this material defect, which led to hundreds of
   millions of dollars in user overcharges, was not an accident, and was indeed deliberate in design:
           However, and subject to the Discovery that will be necessary to analyze definitively
           whether what the Voyager Digital company’s management is doing is intentional,

   93
      Id. at ¶ 41
   94
      Id. at ¶ 26
   95
      Id. at ¶ 29(b)


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             in my preliminary view, since the overcharge/undisclosed commission appears to
             be present in every trade, it is highly likely that the Voyager App is deliberately
             conceived and designed by the company’s management to function that way, or,
             equally, the company’s management has grossly failed to discharge its requisite IT
             and corporate governance duties, and has failed to correct this software material
             defect, perhaps because it is to their company’s benefit. It seems highly unlikely to
             me that the Voyager Digital company’s IT and corporate management did, and
             does, not know (and, if not, it should), what was and is happening as regards this
             software material defect and its overcharge/undisclosed commission financial
             consequences to the Voyager App user. 96
             104.    VDL has failed to meet acceptable professional and transactional standards in the
   market segment they belong to. Dr. Castell concludes, based on his experience, that:
             Based on the evident material failure of Voyager Digital to provide its promised
             Voyager App “best market price,” and “100% Commission Free,” user
             functionalities, whether those failures be through deliberate policy and systems
             design, or through faults in software construction and operation, I am of the
             preliminary opinion that the technical governance of Voyager Digital in the
             management, operation, integrity, representations and security of its Voyager App
             and of its other management and customer systems are likely not to meet, in whole
             or in part, accepted professional standards for, and/or custom and practice in, the
             consumer electronic financial services and/or online trading sectors, but cannot
             arrive at a final considered view prior to Defendants’ discovery and disclosure. 97
                                PLAINTIFF-SPECIFIC ALLEGATIONS
             105.    Plaintiff purchased an unregistered security from Voyager in the form of an EPA
   and funded the account with a sufficient amount of crypto assets to earn interest on his holdings.
             106.    In exchange for receiving Plaintiff’s crypto assets for use in its clandestine lending
   activities, Plaintiff was paid the following interest payments, as revealed from Voyager’s business
   records:
    TRANSACTIO              SYMBOL TYPE                 DATE           QUANTITY NET             PRICE
    NUMBER

    01FC0C0YT1ZX BTC                     INTEREST 2021-08-01 7.42E-05                  3.098    41745.95
    NAYYZG61TC28                                  08:06:59.6                           3844
    WG                                            48 +0000                             09
    01F9GM2K4E5C BTC                     INTEREST 2021-07-01 8.03E-05                  2.690    33524.1
    NCTPK6Q4P4B52                                 08:48:27.2                           6442
    5                                             78 +0000                             66

   96
        Id. at ¶ 29(c)
   97
        Id. at ¶ 50


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    01F73D8TSKKF0 BTC                 INTEREST 2021-06-01 7.98E-05               2.948    36940.44
    6QAW20XT56NJ                               09:08:00.4                        9553
    5                                          36 +0000                          25
    01F4MFHB79ZV USDC                 INTEREST 2021-05-01 1.6041                 1.604    1
    MTGBKJKHJ64F                               17:27:36.4                        1
    K9                                         26 +0000
    01F4KQDDQXS BTC                   INTEREST 2021-05-01 6.07E-05               3.515    57946.2
    M1XF5ZBYEV68                               10:26:02.1                        0164
    8W4                                        10 +0000                          92

           107.     Moreover, after being exposed to VDL’s uniform misrepresentations that the
   Voyager Platform is “100% Commission-Free,” Plaintiff registered for an account on the Voyager
   Platform on March 17, 2021. Further, in reliance on VDL’s foregoing misrepresentations and
   omissions, Plaintiff executed the following trades on the Voyager Platform:
    Date                Order             Cryptocurrency         Amount (USD)       Order ID
    March 18, 2021      Market Buy        +0.008588 BTC          $500.00            ZSSEDN
    March 18, 2021      Market Buy        +0.11627 ETH           $300.00            YJTZRN
    March 18, 2021      Market Buy        +0.000838 BTC          $50.00             R9QFBS
    March 18, 2021      Market Sell       -0.16627 ETH           $301.06            Q6G4VX
    March 18, 2021      Market Buy        +0.005028 BTC          $301.06            E13RAS
    March 18, 2021      Market Sell       -0.004455 BTC          $263.32            HK8RCB
    March 18, 2021      Market Buy        +0.14357 ETH           $263.31            3VHERZ
    March 31, 2021      Market Sell       -0.14358 ETH           $263.88            5M8EVR
    March 31, 2021      Market Buy        +263.88 USDC           $263.88            GGXZYW
    April 3, 2021       Market Sell       -100.00 USDC           $100.00            3VFR9Z
    April 6, 2021       Market Buy        +100.00 USDC           $100.00            E07N9M
    April 18, 2021      Market Sell       -100.00 USDC           $100.00            5A1XVM
    April 18, 2021      Market Buy        +0.001788 BTC          $99.99             EB7CF5
    April 25, 2021      Market Buy        +0.003061 BTC          $150.00            J57N9H
    May 1, 2021         Market Sell       -163.88 USDC           $163.88            32VX48
    May 1, 2021         Market Buy        +0.05729 ETH           $163.87            3K6TA6
    May 4, 2021         Market Buy        +55.3 ADA              $74.99             BWY5H0




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    May 4, 2021         Market Sell        -1.60 USDC             $1.60              G9HV8H
    May 11, 2021        Market Buy         +0.00248 ETH           $10.00             DX65EW
    May 11, 2021        Limit Buy          +0.00250 ETH           $10.11             5J3F4Q
    May 20, 2021        Market Sell        -55.3 ADA              $95.30             FJGHVA
    July 31, 2021       Market Buy         +0.00229645 BTC        $96.79             2HVC4R
    August 17, 2021 Market Sell            -0.06227 ETH           $197.01            M7JWCA
    August 17, 2021 Market Sell            -0.017862 BTC          $821.30            2N96YH

          108.      To illustrate the deceptive nature of the Platform and how VDL secretly charges
   exorbitant commissions on each trade for Plaintiff and all putative class members despite their
   misrepresentations that the Platform is “100% Commission-Free,” Plaintiff includes the following
   screenshots of his May 11, 2021 Market Buy trade at Order ID Dx65EW.
          109.      At 11:17am EST, the cryptocurrency Ethereum (ETH) was displayed on the
   Platform with a “Fair Market Price” of $3,997.83 a coin.




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            110.   On the “trade” page for Ethereum in the Platform at 11:17am EST, the “Bid Price”
   displayed at $3,969.44, and the “Ask Price” displayed at $4,025.44.




            111.   At 11:17am EST, Plaintiff submitted a Market Buy order for $10.00 USD worth of
   Ethereum. On execution of the trade, however, the “Estimated Price” for Ethereum suddenly
   reflected at $4,027.36 a coin, higher than the maximum quoted “Ask Price” on the immediately
   preceding page. Plaintiff’s order filled at $4,025.28 per coin, at the top end of the bid/ask spread.




            112.   At no point during Plaintiff’s relationship with VDL did VDL ever disclose,
   contrary to its representations that the Platform operates “100% Commission-Free,” that the
   “Smart Order Routing,” “Voyager Pricing Engine,” and “Proprietary Fills algorithm” systems are
   intentionally designed to provide VDL with secret commissions built into the pricing of every
   trade.


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                                  CLASS ACTION ALLEGATIONS
          113.    As detailed below in the individual counts, Plaintiff brings this lawsuit on behalf of
   himself and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of the
   Federal Rules of Civil Procedure.
              A. Class Definitions
          114.    Plaintiff seeks to represent the following Nationwide Classes and Florida
   Subclasses (collectively, “the Classes”):
                  (1) Nationwide Voyager Class: All persons or entities in the
                      United States who, within the applicable limitations period,
                      purchased or enrolled in a EPA.
                  (2) Florida Voyager Subclass: All persons or entities in the state
                      of Florida who, within the applicable limitations period,
                      purchased or enrolled in a EPA.
                  (3) Nationwide VDL Class: All persons in the United States who,
                      within the applicable limitations period, used the Voyager
                      Platform to place cryptocurrency investment orders.
                  (4) Florida VDL Subclass: All persons in the state of Florida who,
                      within the applicable limitations period, used the Voyager
                      Platform to place cryptocurrency investment orders.
   Excluded from the Classes are the Voyager Defendants and their officers, directors, affiliates, legal
   representatives, and employees, any governmental entities, any judge, justice, or judicial officer
   presiding over this matter and the members of their immediate families and judicial staff. Plaintiff
   reserves the right to modify or amend the definition of the proposed Nationwide Class or Florida
   Subclass, or to include additional classes or subclasses, before or after the Court determines
   whether such certification is appropriate as discovery progresses.
              B. Numerosity
          115.    The Classes are comprised of thousands, if not millions, of consumers nationwide
   and throughout the state of Florida to whom Voyager offered and/or sold EPAs. Moreover,
   thousands, if not millions, of consumers nationwide and throughout the state of Florida have
   executed trades on the Voyager Platform within the applicable limitations period. Membership in



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   the Classes is thus so numerous that joinder of all members is impracticable. The precise number
   of class members is currently unknown to Plaintiff, but is easily identifiable through the Voyager
   Defendants’ corporate records.
              C. Commonality/Predominance
          116.    This action involves common questions of law and fact, which predominate over
   any questions affecting individual class members. These common legal and factual questions
   include, but are not limited to, the following:
          As to Voyager:
              (a) whether the EPAs were unregistered securities under federal and Florida law;
              (b) whether Voyager’s offerings and sales of EPAs violate the provisions of the
                  Securities Act and Florida law; and
              (c) the type and measure of damages suffered by Plaintiff and the Class.
          As to VDL:
              (a) whether VDL’s description of the Voyager Platform as being “100% commission
                  free” is deceptive, unfair, false and misleading;
              (b) whether VDL’s representations are objectively likely to mislead reasonable
                  consumers to believe that their trading platform operates as “100% commission
                  free”;
              (c) whether VDL’s practices violate the NJCFA;
              (d) whether VDL’s practices violate the FDUTPA;
              (e) whether Plaintiff and Class members have sustained monetary loss and the proper
                  measure of that loss;
              (f) whether Plaintiff and Class members are entitled to injunctive relief;
              (g) whether Plaintiff and Class members are entitled to declaratory relief; and
              (h) whether Plaintiff and Class members are entitled to consequential damages,
                  punitive damages, statutory damages, disgorgement, and/or other legal or equitable
                  appropriate remedies as a result of VDL’s conduct.
              D. Typicality
          117.    Plaintiff’s claims are typical of the claims of the members of the Classes because
   all members were injured through the uniform misconduct described above, namely that Plaintiff



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   and all class members were offered and/or sold EPAs by Voyager, or that Plaintiff and all members
   were exposed to VDL’s identical and uniform misrepresentations and omissions regarding the
   Voyager Platform being “100% commission free,” and Plaintiff is advancing the same claims and
   legal theories on behalf of himself and all such members. Further, there are no defenses available
   to either Voyager or VDL that are unique to Plaintiff.
              E. Adequacy of Representation
          118.    Plaintiff will fairly and adequately protect the interests of the members of the
   Classes. Plaintiff has retained counsel experienced in complex consumer class action litigation,
   and Plaintiff intends to prosecute this action vigorously. Plaintiff has no adverse or antagonistic
   interests to those of the Classes. Plaintiff anticipates no difficulty in the management of this
   litigation as a class action. To prosecute this case, Plaintiff has chosen the undersigned law firms,
   which have the financial and legal resources to meet the substantial costs and legal issues
   associated with this type of consumer class litigation.
              F. Requirements of Fed. R. Civ. P. 23(b)(3)
          119.    The questions of law or fact common to Plaintiff’s and each Classes member’s
   claims predominate over any questions of law or fact affecting only individual members of the
   Classes. All claims by Plaintiff and the unnamed members of the Classes are based on the common
   course of conduct (1) by Voyager in marketing, offering, and/or selling the EPAs, which are
   unregistered securities, or (2) by VDL in making identical and uniform misrepresentations and
   omissions regarding the Voyager Platform being “100% commission free,” while secretly charging
   exorbitant and secret commissions to Plaintiff and the unnamed members of the Classes for every
   trade made on the Voyager Platform.
          120.    Common issues predominate when, as here, liability can be determined on a class-
   wide basis, even when there will be some individualized damages determinations.
          121.    As a result, when determining whether common questions predominate, courts
   focus on the liability issue, and if the liability issue is common to the Classes as is in the case at
   bar, common questions will be held to predominate over individual questions.
              G. Superiority
          122.    A class action is superior to individual actions for the proposed Classes, in part
   because of the non-exhaustive factors listed below:



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              (a) Joinder of all Class members would create extreme hardship and inconvenience for
                  the affected customers as they reside nationwide and throughout the state;
              (b) Individual claims by Class members are impracticable because the costs to pursue
                  individual claims exceed the value of what any one Class member has at stake. As
                  a result, individual Class members have no interest in prosecuting and controlling
                  separate actions;
              (c) There are no known individual Class members who are interested in individually
                  controlling the prosecution of separate actions;
              (d) The interests of justice will be well served by resolving the common disputes of
                  potential Class members in one forum;
              (e) Individual suits would not be cost effective or economically maintainable as
                  individual actions; and
              (f) The action is manageable as a class action.
              H. Requirements of Fed. R. Civ. P. 23(b)(2)
          123.    Voyager has acted and refused to act on grounds generally applicable to the classes
   by engaging in a common course of conduct of offering and/or selling the EPAs, which are
   unregistered securities, thereby making appropriate final injunctive relief or declaratory relief with
   respect to the classes as a whole.
          124.    VDL has acted and refused to act on grounds generally applicable to the classes by
   engaging in a common course of conduct of uniformly making identical and uniform
   misrepresentations and omissions regarding the Voyager Platform being “100% Commission-
   free,” while secretly charging exorbitant and secret commissions to Plaintiff and the unnamed
   members of the Classes for every trade made on the Voyager Platform, thereby making appropriate
   final injunctive relief or declaratory relief with respect to the classes as a whole.
              I. Requirements of Fed. R. Civ. P. 23(c)(4)
          125.    As it is clear that the predominant issue regarding Voyager’s liability is whether
   the EPAs it has offered and/or sold are unregistered securities, utilizing Rule 23(c)(4) to certify
   either or both of the Classes against Voyager for a class wide adjudication on this issue would
   materially advance the disposition of the litigation as a whole.




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          126.    As it is clear that the predominant issue regarding VDL’s liability is whether it has
   violated the NJCFA or the FDUTPA in making identical and uniform misrepresentations and
   omissions regarding their trading platform being “100% commission free,” while secretly charging
   exorbitant and secret commissions to Plaintiff and the unnamed members of the Classes for every
   trade made on the Voyager Platform, utilizing Rule 23(c)(4) to certify either or both of the Classes
   against VDL for a class wide adjudication on this issue would materially advance the disposition
   of the litigation as a whole.
              J. Nature of Notice to the Proposed Classes.
          127.    The names and addresses of all Class Members are contained in the business
   records maintained by the Voyager Defendants and are readily available to the Voyager
   Defendants. The Class Members are readily and objectively identifiable. Plaintiff contemplates
   that notice will be provided to Class Members by e-mail, mail, and published notice.
                                             COUNT ONE
                               Offer and Sale of Unregistered Securities
                  in Violation of Section 5 of the Securities Act, 15 U.S.C. §§ 77e(a)
          (on behalf of Plaintiff and Members of the Nationwide Class against Voyager)
          128.    Plaintiff re-alleges and incorporates paragraphs 1–19, 24–33, 44–45, 47–54, 56–
   68, 105–106, 113–123, 125, 127 above as if fully set forth herein and further alleges as follows.
          129.    Plaintiff brings this claim individually and on behalf of the members of the
   Nationwide Class against Voyager.
          130.    Section 5 of the Securities Act, 15 U.S.C. §§ 77e(a), states:
          Unless a registration statement is in effect as to a security, it shall be unlawful for
          any person, directly or indirectly—
          (1) to make use of any means or instruments of transportation or communication in
          interstate commerce or of the mails to sell such security through the use or medium
          of any prospectus or otherwise; or


          (2) to carry or cause to be carried through the mails or in interstate commerce, by
          any means or instruments of transportation, any such security for the purpose of
          sale or for delivery after sale.



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          131.    The Voyager Earn Program Account (“EPA”) is a security within the meaning of
   Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1) because it is a “note” and an
   “investment contract.”
          132.    The EPAs were not registered with the SEC.
          133.    Voyager sold and offered to sell the unregistered EPAs to Plaintiff and Nationwide
   Class members, in violation of 15 U.S.C. §§ 77e(a).
          134.    Plaintiff and members of the Nationwide Class suffered damages as a result of their
   purchase of the unregistered EPAs securities through Defendants’ website and/or application.
          135.    As a result of Voyager’s unregistered sale of the EPAs securities, Voyager is liable
   to Plaintiff and the members of the Nationwide Class. 15 U.S.C. § 77l(a).
          WHEREFORE, Plaintiff, on behalf of himself and the Nationwide Class members,
   demands judgment for rescission and/or compensatory damages, in addition to prejudgment
   interest, reasonable attorneys’ fees, costs, post-judgment interest, and any and all further relief
   deemed just, equitable, and proper.
                                             COUNT TWO
                               Offer and Sale of Unregistered Securities
                            in Violation of Florida Statute Section 517.07,
                         The Florida Securities and Investor Protection Act
          (on behalf of Plaintiff and Members of the Florida Sub-Class against Voyager)
          136.    Plaintiff re-alleges and incorporates paragraphs 1–19, 24–33, 44–45, 47–54, 56–
   68, 105–106, 113–123, 125, 127 above as if fully set forth herein and further alleges as follows.
          137.    Plaintiff brings this claim individually and on behalf of the members of the Florida
   Sub-Class against Voyager.
          138.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any
   person to sell or offer to sell a security within the State of Florida unless the security is exempt
   under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally
   covered security, or is registered pursuant to Ch. 517, Fla. Stat.
          139.    The Voyager Earn Program Account is a security pursuant to Fla. Stat. §
   517.021(22)(a).




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          140.    The EPAs sold and offered for sale to Plaintiffs and members of the Florida Sub-
   Class were not:
          a.      exempt from registration under Fla. Stat. § 517.051;
          b.      a federal covered security;
          c.      registered with the Office of Financial Regulations (OFR); or
          d.      sold in a transaction exempt under Fla. Stat. § 517.061.
          141.    Through its actions described above, Voyager sold and offered to sell the
   unregistered EPAs to Plaintiff and the members of the Class.
          142.    As a result of Voyager’s sale and offer to sell the EPAs, Voyager violated Fla. Stat.
   § 517.07.
          WHEREFORE, Plaintiff, on behalf of himself and the Florida Sub-Class members,
   demands judgment for rescission and/or damages pursuant to Fla. Stat. § 517.211, together with
   prejudgment interest, reasonable attorneys’ fees, costs, post-judgment interest, and any and all
   further relief deemed just, equitable, and proper.
                                           COUNT THREE
               VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
            (Against VDL on behalf of Plaintiff and Members of the Nationwide Class)
          143.    Plaintiff re-alleges and incorporates paragraphs 1–3, 10–23, 34–44, 46–47, 55–57,
   69–104, 107–112, 113–122, 124, and 126–127 above as if fully set forth herein and further alleges
   as follows.
          144.    The New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq., prohibits the “use
   or employment by any person of any unconscionable commercial practice, deception, fraud, false
   pretense, false promise and misrepresentation . . . in connection with the sale or advertisement of
   any merchandise or real estate, or with the subsequent performance of such person as aforesaid,
   whether or not any person has in fact been misled, deceived or damaged thereby.” N.J.S.A 56:8-
   2.




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           145.    VDL has engaged in, and continues to engage in, unconscionable commercial
   practices, deceptive acts, and misrepresentations in the conduct of its trade and/or commerce in
   the State of New Jersey, as described more fully hereinabove.
           146.    VDL’s statements regarding the Voyager Platform being “100% Commission-
   Free” were false and misleading because VDL in fact did charge Plaintiff and Class members
   undisclosed commissions on cryptocurrency trades made on the Voyager Platform.
           147.    The NJCFA further provides that “[a]ny person who suffers an ascertainable loss
   of moneys or property, real or personal, as a result of the use or employment by another person of
   any method, act, or practice declared unlawful under the [NJCFA] may bring an action or assert a
   counterclaim therefore in any court of competent jurisdiction. N.J.S.A. 56:8-19.
           148.    Plaintiff and the Class are “person(s)” as that term is defined in N.J.S.A.56:8-1(d).
           149.    Plaintiff and the Class have suffered an ascertainable loss of moneys or property as
   a direct and proximate result of VDL’s unconscionable practices.
           150.    Plaintiff and the Class have a private right of action against VDL and it entitles
   them to recover, in addition to their actual damages, a threefold award of the damages sustained
   by any person, interest, an award of reasonable attorney’s fees, filing fees and reasonable costs of
   suit. N.J.S.A 56:8-19.
           151.    Plaintiff and the Class have suffered, and will continue to suffer, irreparable harm
   if VDL continues to engage in such deceptive, unfair, and unreasonable practices.
                                          COUNT FOUR
              For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                 § 501.201, Florida Statutes, et seq.
             (Against VDL on behalf of Plaintiff and Members of the Florida Subclass)
           152.    Plaintiff realleges and incorporates by reference the allegations contained in
   paragraphs 1–3, 10–23, 34–44, 46–47, 55–57, 69–104, 107–112, 113–122, 124, and 126–127 as if
   fully set forth herein.
           153.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA
   is to “protect the consuming public . . . from those who engage in unfair methods of competition,
   or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”
   § 501.202(2), Fla. Stat.



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          154.    Plaintiff and Class members are consumers as defined by section 501.203, Fla. Stat.
   VDL is engaged in trade or commerce within the meaning of the FDUTPA.
          155.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of
   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the
   conduct of any trade or commerce.”
          156.    VDL’s unfair and deceptive practices as described herein are objectively likely to
   mislead – and have misled – consumers acting reasonably in the circumstances.
          157.    VDL has violated the FDUTPA by engaging in the unfair and deceptive practices
   as described herein, which offend public policies and are immoral, unethical, unscrupulous and
   injurious to consumers.
          158.    Plaintiff and consumers in the Class have been aggrieved by VDL’s unfair and
   deceptive practices and acts of false advertising by paying VDL undisclosed commissions on
   cryptocurrency trades on the Voyager Platform, having parted with money under false pretenses.
          159.    The harm suffered by Plaintiffs and consumers in the Class was directly and
   proximately caused by the deceptive and unfair practices of VDL, as more fully described herein.
          160.    Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiff and consumers
   in the Class make claims for actual damages, attorneys’ fees and costs.
          161.    VDL still utilizes many of the deceptive acts and practices described above and is
   still secretly retaining money from every cryptocurrency trade made on the Voyager Platform.
   Plaintiff and the other members of the Class have suffered and will continue to suffer irreparable
   harm if VDL continues to engage in such deceptive, unfair, and unreasonable practices. Section
   501.211(1) entitles Plaintiff and the Class to obtain both declaratory or injunctive relief to put an
   end to VDL’s unfair and deceptive scheme.




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                                      PRAYER FOR RELIEF
   WHEREFORE, Plaintiff prays for a judgment on behalf of himself and the Classes:
             a. Certifying the Classes as requested herein;
             b. Awarding actual, direct and compensatory damages;
             c. Awarding restitution and disgorgement of revenues if warranted;
             d. Awarding declaratory relief as permitted by law or equity, including declaring the
                Voyager Defendants’ practices as set forth herein to be unlawful;
             e. Awarding injunctive relief as permitted by law or equity, including enjoining the
                Voyager Defendants from continuing those unlawful practices as set forth herein,
                and directing the Voyager Defendants to identify, with Court supervision, victims
                of their conduct and pay them all money they are required to pay;
             f. Awarding statutory and multiple damages, as appropriate;
             g. Awarding attorneys’ fees and costs; and
             h. Providing such further relief as may be just and proper.




                                   DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a jury trial as to all claims so triable.




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   Dated: April 28, 2022                                   Respectfully submitted,

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                                                          Co-Counsel for Plaintiff and the Class


                                     CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the forgoing was filed on April 28, 2022,
   with the Court via CM/ECF system, which will send notification of such filing to all attorneys of
   record.
                                                            By: /s/ Adam M. Moskowitz______
                                                                    ADAM M. MOSKOWITZ
                                                                    Florida Bar No. 984280


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